Case 5:17-CV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 1 of 85

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

MICHAEL JOSEPH ROTONDO,
Plaintiff,
- against - MEMORANDUM OF LAW
Civil Case No. 5:17-CV-522
DNH/DEP
BEST BUY STORES, LLC,
Defendant.

 

1. The Defendant had violated NeW York Codes Rules and Regulations
Part 142 § 142-2.3 Call-in pay. Which states:

"An employee Who by request or permission of the employer
reports for Work on any day shall be paid for at least four hours, or
the number of hours in the regularly scheduled shift, Whichever is
less, at the basic minimum hourly Wage. "

Which shows that the Defendant Was so committed to the discrimination of

the Plaintiff, that the Defendant Was Willing to commit a separate Violation of

NeW York State law in order to pursue that same discrimination against him.

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2. In Margaret Weichert V. E-Finance Call Centerl, the Plaintiff was
awarded $154,000 in emotional distress and punitive damages for each and both
of, discriminatory pay and retaliatory discharge. Back pay was also awarded,

but this figure is not incorporated into the same $154,000 above.

3(a). The matter of Margaret Weichert v. E-Finance Call Center pales in
comparison to this matter Michael J Rotondo v. Best Buy Stores LLC. The
Plaintiff has claimed the following acts of discrimination based on his sex,
which each are willful Violations of Title VII of the Civil Rights Act of 1964 as

amended.

3(b). For the emotional distress of, the Plaintiff’s humiliation and
aggravation of having to be brought into work during times that the
Plaintiff and his coworkers knew that the Plaintiff did not need to be

called in for Work and,

 

1. Margaret Weichert v. E-Finance Call Center; United States District Court

Eastern District of Kansas: Case 2:13-cv-02493-KHV Docket# 178

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 3 of 85

3(c). For the emotional distress of, the Plaintiff’s humiliation and
aggravation for being scheduled in the tedious “portable audio” and
“networking” sections of his departrnent, in spite of his Veterancy and

skill with customers and,

3(d). For the emotional distress of, the pressure the Defendant had
put onto the Plaintiff to forgo trick-or-treating With his son, on the

Halloween holiday of October 31, 2017 and,

3(e). For the emotional distress of, the Plaintiff having to forgo
some of his parenting time with his child, for effectively every Saturday

of 2015 and,

3(e). For the emotional distress and aggravation of, the Plaintiff

being scheduled exclusively on Saturdays, for a portion of 2015 and,

3(f). For the emotional distress of, the aggravation for the Plaintiff

having to attempt to compel the Defendant to adhere to their agreement to

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allow the Plaintiff to have all Saturdays off in perpetuity and,

3(g). For the emotional distress of, the retaliatory termination of the
Plaintiff for not allowing the Defendant to coerce the Plaintiff into
agreeing to being available for work during a time that the Plaintiff had

parenting time with his son and,

3(h). For the emotional distress of, the humiliation of the Plaintiff

for the Defendant failing to promote him.

4. Defendant refused to honor their agreement with the Plaintiff to allow
him to be unavailable for Work on all Saturdays in perpetuity. The Defendant

thereby violated Plaintiff’s rights under 42 U.S.C. §1981.

5. It is the overwhelming belief of the Plaintiff that these acts of
discrimination easily substantiate the Plaintiff’s motion for judgment in the
amount sought, of $388,000, as this matter of Michael J Rotondo v. Best Buy
Stores LLC., is inclusive of discrimination which is minimally, twice as

egregious, as the matter of Margaret Weichert v. E-Finance Call Center‘.

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l. Margaret Weichert v. E-Finance Call Center; United States District Court

Eastern District of Kansas: Case 2:13-cv-02493-KHV

ease 5:17-cv-00522-DNH-DEP Document@¢t,;biiled oé/ls/ls Page 6 of 35

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MICHAEL JOSEPH ROTONDO,
Plaintiff,
- against - EXPLANAIION EOR
FILING DISQOVERY
Civil Case No. 5:17-CV-522 DNH/DEP
BEST BUY STORES, LLC,
Defendant.
Michael Rotondo
408 Weatheridge Dr.

Cami]lus, NY 13031

November 1, 2017

Honorable Magistrate Judge David E. Peebles
100 South Clinton St.

P.O. Box 7637

Syracuse NY 13261

Dear Honorable Magistrate Judge David E. Peebles,

The Plaintiff Michael J. Rotondo asserts under the penalties of perjury as follows:

1. The Plaintiff was aware of the "7 day prior" deadline for the filing of his case
management plan however, he was involved with another very serious matter and did not
review the general order 25 and discover the 21 day deadline to confer with the other party
and discuss the case management plan until October 17th 2017, where the Plaintiff then
immediately called Brienna Christiano of Carter and Conboy that day, 16 days before the
Rule 16 conference and in turn left a voice_mail for Michael J. Murphy, inquiring about the
Case Management plan that Carter and Conboy had in mind, to the effect that the Plaintiff

may then consider the Case Management plan that Carter and Conboy was considering at

that time.

 

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2. The Plaintiff did not hear from Carter and Conboy in any way, from October 17th
2017 until, on October 25, 2017, shortly after the Plaintiff filed his proposal for a case
management plan.

3. On October 25, 2017 the Plaintiff had received a phone-call from Brienna
Christiano of Carter and Conboy where, she had represented to to the Plaintiff that she was
unwilling to meet with the Plaintiff at 9:00 AM on Nov 2, 2017 so that he may provide her
with his discovery and summary Judgment motions, so that the scheduling conference could
then be taken with with those motions in mind and, she also stated that she is not able to
discuss the merits of the case at this time thereby demonstrating, a complete unwillingness
to attempt to resolve this matter in good faith or participate in the proceedings

4. In response to the situation described above, the Plaintiff then decided that the
most prudent thing to do was to file his discovery and summary judgment motions so the
court may be moved by them, as this would advance this case.

Thank you for your time,

744 l/W
Michael Joseph Rotondo
Plaintiff
408 Weatheridge Dr.
Cami]lus, NY 13031

 

Sworn to before me this

day cfa/imm ij
' cf ga

   

JOSEPH S LOG|UD|CE

Notary Pub|ic - State of New York

No. 01 L063
Quaimed in on 55991

On
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Case 5:17-CV-OO522-DNH-DEP Document67-2 I-']"jexquplP/@ Page8of 85

CARTER CONBOY

ATTORNEYS AND COU`NSELORS AT LAW

 

 

JAMEs c. BLAcKMoRE -__-_ MATn-iEw J. oiLLoN
JoHN T. MALoNEY 20 CORPORATEW WOODS BOULEVARD elNA T. ANGRisANo
EowARr) o. LAlRo, JR.+ YORK 1221 1-2396 JoHN R. cANNEY. iv
JAMES A REsiLA' (ALSltlz)A 465- Y§484W FAX (518) 465- 1843 sTANLEY .i. TARTAGL|A, JR.
MchAEL .i. MuRPHv ` www. cancrconboy com BRieNNA L. cHRrs'nANo
WlLLiAM o. YooUlNTo couR'rNEY E. GREEN
MicHAEL J. cATALFiMo' lOFFICEs ALSO IN SARATOGA sPRlNGs- ANDREANNA M. ou.iaERTo»
wlLLiAM .1. DEcAiRE' KAsEY it Hn.ooNeN
ADAM H. cooPi=_R Also Admitted ln: ___
MAcKENzlE c. MoNAco 'Massacnusens oi= couNsEL
BR|AN or cARR "New Jersey HoN. oAle R. HoMER (Reiired)
M. ELizABETH coRENo +vermoni HoN. THoMAs E. MERcuRe (Reirred)
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___ iAwRENcE R. HAMu.ToN
couNsEi. JoHN H. PENNoclt JR.

JONATHAN E. HANSEN
WlLLlAM C. FlRTH'

RET|RED
JAMES M. CONBOY

November 1, 2017

Michael Joseph Rotondo
408 Weatheridge Drive
Cami||us, NY 13031

Re: Rotondo v. Best Buy Stores, LLC
Our fi|e: 28806

Dear Mr. Rotondo:

Enc|osed for service please find defendant’s First Set of interrogatories and Request
for Production of Documents, with regard to the above-referenced matter.

Thank you.
Very truly yours,
CARTER, CONBOY, CASE, BLACKMORE,
|V|ALONEY & LAlRD, P.C.
B :
M|CHAEL J. MU
MJM:mmk
Enc|osure

§

CARTER, CONBOY, CASE, BLACKMORE, MALONEY & LAIRD, P.C.

 

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UN|TED STATES DlSTR|CT COURT
NORTHERN D|STRlCT OF NEW YORK

 

M|CHAEL JOSEPH ROTONDO,

 

Plaintiff,
FlRST SET OF |NTERROGATOR|ES
AND REQUEST FOR PRODUCT|ON
OF DOCUMENTS
-against- Civil Case No. 5:17-CV-522 DNHIDEP
BEST BUY STORES, LLC,
Defendant

 

Defendant, Best Buy Stores, LLC, by and through its`counsel, Carter, Conboy,
Case, Blackmore, l\/|aloney & Laird, P.C., propounds the following interrogatories and
request for production of documents to plaintiff, pursuant to Rules 33 and 34 of the
Federal Ru|es of Civil Procedure, and demand answers and production in response
thereto Within thirty (30) days of service. ln these interrogatories and requests, the

following definitions shall app|y:

DEFIN|T|ONS AND |NSTRUCT|ON§
PLEASE TAKE NOT|CE that, pursuant to Federal Rules of Civi| Procedure Ru|e
26(e), the following interrogatories shall be deemed to be continuing, and any additional
information, including, but not limited to, any conclusions, opinions or contentions which
relate in any way to these interrogatories which is different from that which is set forth in
the answers hereto, and which is acquired subsequent to the date of service of the
answers to these interrogatories up to and including the date of tria|, shall be furnished

to the attorneys for defendant promptly after such information is acquired

 

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PLEASE TAKE FURTHER.NOT|CE, that if plaintiff fails to timely supplement his
answers to these interrogatories defendant reserves all rights to seek relief from the
Court including, but not limited to, preclusion of evidence, sanctions and/or dismissal of
plaintist Comp|aint.

The following definitions apply:

1. Each interrogatory is addressed to the personal knowledge of and/or
information possessed by plaintiff Ryan Cook and his present and past: (1) agents; (2)
attorneys (information legitimately protected _ by a privilege is n_ot sought); (3)
investigators; and/or (4), other representatives of plaintiff. Where facts`set forth in
plaintist answers or portions thereof are supplied upon information and belief rather than
upon direct personal knowledge, please so state and identify the source of such
information and belief. For any interrogatory or portion thereof for Whlch an answer
cannot be provided by way of actual knowledge or upon information and belief, please so
state and identify what efforts, if any, were made to obtain such knowledge as would
enable plaintiff to answer said interrogatories or portions thereof.

2. The Words “you," “your,” “plaintiff Rotondo” and/or “p|aintiff” (and variants
thereof) refer to plaintiff Michael Rotondo.

3. The Word “complaint” and variations thereof refer to the complaint filed in
the instant matter, Hled on or about l\/|ay 11, 2017.

4. The words “person” or “persons” means a corporation, partnership, other

business association or entity, a natural person, or any government or governmental

body, departrnent, commission, board or agency.

 

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5. Whenever a date, amount, or other computation or figure is requested, the
exact date, amount or other computation or figure is to be given unless lt is not known;
and then the approximate date, amount or other computation or figure as an estimate or
approximation; and the basis of such estimate or approximation is to be described.

6. “ldentify,” when used in reference to a natural person, means to state his or
her full name, date of birth (if known), present or last known residence, and telephone
number. if the address and telephone number provided is the “last known,” please so
state and indicate the date when last known.

7. “ldentify,” when used in reference to a corporation or partnership, means to
state its full name and address of its current or last known principal place of business

8. “ldentify,” when used in reference to a document, means to state its title,
date, author(s), addressee(s), present |ocatlon, name(s) and address(es) of its custodian,
and the substance of the contents thereof. in addition to identifying any document(s),
please produce a copy thereof with your answers to these interrogatories, with reference
to the numbered interrogatory or interrogatories to which the document(s) is/are
responsive

9. “ldentify,” when used in reference to an oral communication or conversation,
means to state the date of the conversation, the place where it occurred, and to provide
the name and current or last known address of each person who was present during the
communication or conversation

10. “ldentify,” when used in reference to any action, omission, occurrence,
occasion, meeting, transaction or conduct (co||ectivelyl “act”), means to set forth a

detailed and complete description of the event or events constituting each act, its location

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and date, and the names and current or last known address of every person participating
in, present during or with knowledge of such act.

11. The words “set forth,’l “describe,” “state” or variants thereof mean to provide
a full and complete detailed description of the information sought including, but not limited
to, any information relevant to the allegations contained within the complaint

12. "Documents" shall mean any written, printed, typed, recorded or graphic
matter, however produced, reproduced or stored, including but not limited to letters,
emails, telephone messages, notices, notes of conversations, memoranda, reports,
agreements, diaries, minutes, recitations, statements, worksheets, abstracts, resumes,
summaries, notes, books, journals, ledgers, charts, diagrams, drafts, newspapers,
appointment books, desk calendars, expense reports, invoices, delivery records,
photographsl tape recordings, video and audio recordings, electronic data compilations,
and any other means of recording information in plaintiffs possession, custody or control,
or which previously existed.

(i) Lost or destroyed documents: if any document for which
identification is requested was formerly in existence or in plaintiffs possession but no
longer exists or is no longer within plaintiffs possession, custody or control, plaintiffs
identification of the document should include: (1) an identification of the document and
its author or addressee; (2) the date and circumstances of the document's loss or
destruction; and (3), the reason orjustification for such loss or destruction

(ii) Privileged documents: if any privilege is claimed with respect to any
document or communication requested herein, specifically identify the document or

communication and state the privilege claimed and the basis therefor.

 

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FORM OF ANSWERS

The answers to these interrogatories are to be numbered by plaintiff in such a
manner whereby the number of the answer corresponds with the number of the
interrogatory, with the same instruction applying to sub-paragraphs of each interrogatory

|NTERROGATOR|ES

1. identify each person supplying information for answers to the following

interrogatories, specifically stating for each:
a. Full name;
b. Residence; and
c. Business address.

2. Set forth the manner in which plaintiff was discriminated against based on
sex as alleged in paragraph 6 of the Complaint.

3. Set forth the manner in which plaintiff was terminated as alleged in
paragraph 7 of the Complaint and identify the date, time, location of the termination as
weil as the employee of defendant who communicated the termination to plaintiff.

4. Set forth the manner in which plaintiff was denied an accommodation as
alleged in paragraph 7 of the Complaint and identify the specific date that the alleged
denial occurred, as weil as the employee of the defendant who allegedly denied an
accommodation

5. identify the employee(s) of defendant who allegedly agreed to allow plaintiff
to be unavailable for work on a holiday and identify the holiday, as well as the date, time

and location that said statements were made as referred to in paragraph 8(b) of the

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Complaint, and the employee of the defendant who allegedly permitted plaintiff not to
work on the holiday.

6. identify the manner in which the defendant allegedly “reneged on this
agreement and pressured” the plaintiff and set forth the date, time and location that this
was communicated to plaintiff, and the employee of the defendant who communicated
this to the plaintiff.

7. identify the manner in which the defendant allegedly “reneged” as alleged
in paragraph 8(b) of the Complaint, and set forth the date, time and location that this was
communicated to plaintiff, and the employee of defendant who communicated this to the
plaintiff.

8. Set forth the manner in which plaintiff was allegedly “reprimanded” as
referred to in paragraph 8(b) of the Complaint, identifying the employee of the defendant
who allegedly reprimanded plaintiff, as well as the date, time and location that this
occurred.

9. Provide a copy of the agreement referred to in paragraph 8(c).

10. Provide a copy of the company policy referred to in paragraph 8(c) of the
Complaint, making specific reference to the policy depended upon.

11. State whether or not the “two separate occasions” referred to in paragraph
9 of the Complaint are the allegations referenced in paragraphs 8(b) and 8(c) of the
Complaint.

12. If the response to paragraph 15 was no, then for each occasion referenced
in paragraph 9 of the Complaint, provide: (1) a copy of the agreement referred to in

paragraph 9, (2) the specific reference to the language in the company policy depended

 

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upon; (3) the manner in which defendant allegedly “pressured [the plaintiff] to forego an
agreement”, including the date, time and location that this occurred and the employee of
defendant who allegedly “pressured” plaintiff.

13. identify the names, addresses and positions of all employment held by
plaintiff since December 2015, and provide information regarding hours worked, saiary,
wage per hour and fringe benefits

14. Set forth all amounts of back pay, salary and benefits to which plaintiff is
allegedly entitled, including the method of computation of same.

15. Set forth the manner in which plaintiff is entitled to compensatory damages

16. Under what authority is plaintiff entitled to punitive damages?

17. Under what authority is plaintiff entitled to attorney’s fees?

18. identify all witnesses to any of the allegations giving rise to the Complaint,

including full name, residence and business address

DEMAND FOR DOCUMENTS

'l. Produce all documents identified or described in the plaintiffs response to

the interrogatories set forth above.

2. Produce copies of the “company policy” referred to in paragraphs 8(b) and

8(c) of the Complaint.

3. Provide copies of the agreement referred to in paragraph 8(b) of the
Complaint.

4. Provide copies of the agreement referred to in paragraph 8(c) of the
Complaint.

 

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5. Produce any and all documents which support any of the allegations
regarding damages to the plaintiff and/or were described in any of the responses to the

above interrogatories related to the plaintiffs damages

6. Produce all documents reviewed in the preparation of and responses to the

above interrogatories

7. Produce any and all documents correspondence, notes or memoranda
relating to communications between plaintiff and defendant defendant’s agents
defendant’s employees defendant’s representatives or defendant’s attorneys

8. Produce any statements of the defendant in any form or format, and

whether or not the plaintiff intends to use the statements at the time of trial.

DATED; November 1, 2017 CARTER, CONBOY, CASE, BLACKl\/|ORE
MALONEY & LA|RD, P.C.

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Bar Roll No.: 102244
Attorneys for Defendant, Best Buy
Stores LLC
Office and P.O. Address
20 Corporate Woods Boulevard
Albany, NY 12211-2396
Phone: (518) 465~3484
E-Mail: mmurphv@carterconbov.com

TO: M|CHAEL JOSEPH ROTONDO
Plaintiff, Pro Se
408 Weatheridge Drive
Camil|us, NY 13031

 

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UNI'I`ED STA'.['ES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

MICHAEL JOSEPH ROTONDO,
Plaintiff,
- against - RESPONSE TO §§ILIQOGATORIES AND
RE T FOR PRODUCTI S

Civil Case No. 5:17-CV-522 DNH/DEP
BEST BUY STORES, LLC,

Defendant.

 

Dear Carter and Conboy,

The paragraphs of the Plaintiff’s complaint cited in many of these interrogatories do not seem to
corroborate to those same paragraphs in the Plaintiffs complaint, to the extent that these
interrogatories are so unclear, that with consideration of how thoroughly and consistently unclear
this “first set of interrogatories and request for production of documents” is, up to and including

interrogatory 11, that the Plaintiff is unable to provide the information requested in this “first set of
interrogatories and request for production of documents” at this time.

With this in mind, the Plaintiff asks that you please review his motion for summary judgment filed
November 1, 2017 and all its annexed documerits, and review and amend your “first set of
interrogatories and request for production of documents” with that same motion in mind, before
sending the Plaintiff a revised set of interrogatories and requests for production of documents, as it
is in the overwhelming belief of the Plaintiff that the Plaintiff has provided to you within his motion

for summary judgment filed November 1, 2017, much of this information the Plaintiff is imagining
you are seeking

Further, the Plaintiff has annexed hereto a copy of his complaint, from which he believes your “first
set of interrogatories and request for production of documents” takes. If this is not the complaint
that you are familiar with, please attach in your response to this letter, a copy of the complaint that
you are familiar With.

 

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Also, it is the belief of the Plaintiff that this “Ryan Cook” in definition 1 of the “first set of

interrogatories and request for production of documents”, is someone which whom the Plaintiff has
no affiliation with.

Finally, If the paragraphs cited in the “first set of interrogatories and request for production of
documents” does in fact corroborate with the Plaintiff’s complaint, please let the Plaintiff know how

Date: November 5, 2017

Regards,

’F’l/» l/L//i
Michael Joseph Rotondo
Plaintiff
408 Weatheridge Dr.
Camillus, NY 13031

 

Case 5:17-cv-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 19 of 85

UNITED STATES DISTRICT COURT

NoR'mERN ms'mrc'r 0FNEWY0RK AMMENDED COMPLA|NT
Michael Joseph Rotondo

Piaimirr(s) civiicase No.:

5:17-cv-0522 (DNH/DEP)

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B§sr §gY sgie§gc AsAMENnEo

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Piaaninrs)aemaad(s)ataaiby EJIJRY _l:l_counr (seiecrgnyoae).

 

 

JURISDICTION

1. Jurisdiction is conferred on this court pursuant to 42 U.S.C. § 2000e~5.

PARTIES
2, Plainiig'; Michael Rotondo

Addr$s; 408 Weatheridge Dr.

Camillus, NY 13031

 

AdditionalPlaintiH'smaybeaddedonasepamtesheetofpapcr.

3_ a_ Defendant BEST BU¥ STORES LLC

Oflicial Position:

 

Addms; 9090 Destiny Usa Drive.

Syracuse, NY 13290

 

 

Case 5:17-cv-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 20 of 85

b. Defendant

 

OH:°icial Position:

Address:

 

 

 

 

 

 

 

 

This action is brought pursuant to:

\’ ride vii urine civil nights Act or 1964, as attended warned ar 42 U.s.c.

§ 2000e etseq., and the Civil Rights Act of 1991, for employment discrimination
based on race, color, religion, sex or national origin.

 

 

 

 

Pregnancy Discrimination Act of 1978, codified at 42 U.S.C. § 2000e(k), as

amended, Civil R.ighis Act of 1964, and the Civil Rights Act of 1991, for
employment discrimination based on pregnancy

Venne is invoked pursuant to 28 U.S.C. s 1391.

Defendant’s conduct is discriminatory with respect to the following (check all that apply):

(A)
(B)
(C)
(D)
(E)
(1‘)

13

 

 

 

 

 

 

My race or oolor.

My religion

My sex (or sexual harassment).
My national origin

My Pr¢soancy-

Other:

The conduct complained of in this action involves:

(A)
(B)
(C)
(D)
(E)
(F)
(G)

/

 

 

 

 

 

 

Failure to employ.

Tennination of employment

Failure to promote

Unequal terms and conditions of employment
Reduction in wages

Retaliation_

Other acts as speci&ed below:

 

 

 

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8. FACTS

Setforththefacts ofyourcasewhich substantiate yourclaims. Listthe events inthe
order they happened, naming defendants involved, dates and places

Note: You must include allegations of wrongful conduct as to EACH and EVERY
defendant in your complaint (¥ou may use additional sheets as necessary).

See attached document entitled ”FACTS" on pages 4-5.

 

 

 

 

 

 

 

 

9. CAUSES OF ACTION

Note: You must clearly state each cause of action you assert in this lawsuit

FlRST CAUSE OF ACTION
See attached document entitled `CAUSES OF ACTION" on page 6.

 

 

 

 

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EM
3(3)~
Iwasqualifiedforthepositionthat~lheldwiththekespondent. Iwas goodwith

customersandlwasadiligentworker.

8(b)-

Iwasharasedwithmyparentlngtimewithmyson, bybeingscheduled\mnecessatilyon
days thattheRespondentknethadparentingtimewithhim.This occlmedthroughoutthe year
0f2015andwasdonetomebybodiMan’ahGoddardandManianwneach,attheBestBuy

Store located at 9090 Destiny USA Dr. Syracuse, NY 13290.

8(c).

The Respondent consistently perpetually and unfairly placed me in the “portable audio”
or “networking” sections of my departrnent, instead of placing me in the section of my
department where the employees sold cellular phones. Selling cellular phona is much preferred
amongst employes over being placed elsewhere in the departrnent, and I could most effectively
be capitalizedonas memphyeebybdngphwdwsenchmphonesbmause ofmy
experienceinthe cellularphone departmmt. This occtmedthmughomthe year of 2015 andwas

donetomebybomMariahGoddardandMartinBrowneach,attheBestBuyStOrelOCaIedat

9090 Destiny USADr. Syracuse, NY 13290.

B(d).

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The Rspondent had agreed to allow myself to be unavailable for work on all Saturday’s
in perpauity including the Halloween holiday on 10/31/2015, this was agreed upon on behalf of
the Respondent by the General Manager of the Best Buy store that I worked at Jason Kollbaum,
who bad agreed to this rmavailability on 9/6/2015 at 3:32 CDT. ln accordance with company
policy, I could depend on this agreement

It was doannemed that l was reprimanded on a day shortly after 10/31/2015 by Justin
Hayse, for not coming in to work on 10/31/2015. 'I`his occurred at the Best Buy Store located at

9090 D$tiny USA Dr. Syracuse, NY 13290.

8(c).

IwastoldbymysupervisorMariahGoddardthatifldidnotrequestforthekespondent
to amendmywork availabilityagreemmttoinclude Sann'day’sasadaytbatlwas availableto
work, Iwouldbeterminated.’l`his occur:redatdle BestBuy StomlocatedalSOSO DBtinyUSA
Dr. Syracuse, NY 13290.'I`his representationthatlwouldbeterminatedifl didnotamendmy
work agreement with the Respondent was reiterated by Mariah Goddard to myself on 12/4/2015
at the Best Buy Store located at 9090 Destiny USA Dr. Syracuse, NY 13290. In accordance with
company policy, I was under no obligation to request to amend my work availability agreement

with the Respondent. I did not request to amend my work availability agreement with the
Respondent. The Respondent terminated my employment on/about 12/4!2015.

B(f)-

Othersingleparentswhowerefemales,werenottreatedthesamewaythatlwasas
describedhemi;n_

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 24 of 85

9. CAUSES F A 'I`I N

EB§‘_I §AQSE QF AC:_I__ION

IbehevemeRespondmtdiscdminatedagainstmebecauseofmygendedmalewhmI

was denied an accommodation which was due to a court order. 'I`his is in willful violation of

'IitleVIIoftheCivilRigbtsActofl!-)S4asamended.
§E§LLNM_$_E_O_P_`ALIIQH
I believe the Respondent discriminated against me because of my gender/male when l

wasgivendifferentconditionsofemployment.'I'hisisinwillfulviolationof'l'itleVlIoftheCivil
RightsActof1964asamended.

IHIBILQAHSEQEAQ[.IQN

IbelievedreRespondemdiscriminatedagainstmebecauseofmygender/malewhenl
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amended.

 

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 25 of 85

SECOND CAUSE OF ACTION

 

 

 

 

 

'I'HIRD CAUSE OF ACI`ION

 

 

 

 

 

10.

ll.

12.

13.

14.

I liled charges with the New York State Division on Hmnan Rights, the New York City

Commission on Human Rights or Equal Employment Opportlmity Commission regarding
the alleged discriminatory acts on or about

7/28/201 6
(Provide Date)

The qulal Employmeot Opporttmity Commission issued a Notice-of-Right-to-Sue letter
(eopy atlach§) which was received by me on or about

2/28/201 7
(vaidn Daw)
ron plainanis an montoya within me menning nf42 tJ.s.c. § zooon(r).

 

The defmdmt(s) is (are) an employer, employment agency, or labor organization within
the meaning of 42 U.S.C. § 2000e(b), (c), or (d). `

The defendant(s) is (are) engaged in oomma'ee within the meaning of42 U.S.C.'
§ ZWH)~ 7

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 26 of 85

15. PRAYER FOR RELIEF

WHEREFORE, plaintiBIs) request(s) that this Court grant the following relief
Compensatory damages and punitive damages ($300,000), Back Pay ($13,000),

Front Pay ($24,000), and attomey's fees ($1500.00); Tota|ing $338,500.00

 

 

l declare under penalty of perjury that the foregoing is true and correct
DATED: 6/18/2017

 

Michael Joseph Rotondo

 

Signature of Plaintiii’(s)
(all Plaintili`s must sign)

02/2010

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 27 of 85

 

 

 

 

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Case 5:17-CV-OO522-DNH-DEP Document 67-2 Fi| d 06/15/18 Page 28 of 85

 

E)t 1\!11;`
UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
MICHAEL JOSEPH ROTONDO,
Plaintiff,
- against - PLAINTIFF’S REQUEST FOR

DISCOVERY AND ADMISSIONS
Civil Case No. 5:17-CV-522 DNHIDEP
BEST BUY STORES, LLC,
Defendant.

 

The Plaintiff Michael Joseph Rotondo, requests the following for admissions and discovery
and, please be advised that while the contents appear to be motions, nothing included herein has

been filed with the court.

1. The Plaintiff’s income since he had been employed by the Respondent is as follows:

Unemployment: $2301.00
Day-labor: $350
Odd-jobs: $1500
Ski-instructor: $1402.10
Computer business: $650
Total: $6,203.10

2. The Plaintiff requests the following admissions by the Defendant. If the Defendant is unwilling to
admit to these requested admissions then the Plaintiff is requesting that the corresponding discovery
described in each of these sections which follow may be provided to him, so the facts of this case

may be then known.

a. The Plaintiff requests for the admission that, Jason Kollbaum approved off all of the
Plaintiff’s Saturdays in perpetuity and, that this was an agreement that the Plaintiff could depend on

in accordance with company policy. If the Defendant is unwilling to admit to this as fact, then the

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 29 of 85

Plaintiff is, at the time of this same refusal of the Defendant to admit, requesting that the ‘discovery’

described in the Plaintiff’s “duces tecum #1” annexed hereto, be fulfilled

b. The Plaintiff requests for the admission that, the Plaintiff was fired on December 4, 2015.
If the Defendant is unwilling to admit to this as fact, then the Plaintiff is, at the time of this same
refusal of the Defendant to admit, requesting that the ‘discovery’ described in the Plaintiff’s “duces

tecum #1” annexed hereto, be fulfilled

c. The Plaintiff requests for the admission that, the Defendant had purposefully allowed
some of their mobile employees to become unavailable for work on the Halloween holiday of
10/31/2015, in an attempt to fraudulently procure a justification that the Plaintiff needed to be
called in to work on that Halloween holiday of 10/31/2015 and, that this act of allowing other
mobile employees to become unavailable to work on the Halloween holiday of 10/31/2015 was a
deliberate attempt made by the Defendant, to take the Plaintiff away from his son on that same
Halloween holiday without just cause. If the Defendant is unwilling to admit to this as fact, then the
Plaintiff is, at the time of this same refusal of the Defendant to admit, requesting that the ‘discovery’

described in the Plaintiff’s “duces tecum #2” annexed hereto, be fulfilled

d. The Plaintiff requests for the admission that, the Human Resources department of the Defendant,
disregarded a situation where the Plaintiff was harassed at work. If the Defendant is unwilling to
admit to this as fact, then the Plaintiff is, at the time of this same refusal of the Defendant to admit,
requesting that the ‘discovery’ described in the Plaintiff’s “duces tecum #3” annexed hereto, be
fulfilled

e. The Plaintiff requests for the admission that, The Plaintiff was scheduled exclusively on
Saturday’s for a minimum time span of 5 consecutive weeks, within the time frame of December
14, 2014 to March 7, 2015. If the Defendant is unwilling to admit to this as fact, then the Plaintiff
is, at the time of this same refusal of the Defendant to admit, requesting that the ‘discovery’

described in the Plaintiff’s “duces tecum #4” annexed hereto, be fulfilled

f. The Plaintiff requests for the admission that, The Plaintiff was an exceptional employee
who was highly skilled at his job and overwhelmingly forthcoming with effort. If the Defendant is
unwilling to admit to this as fact, then the Plaintiff is, at the time of this same refusal of the
Defendant to admit, requesting that the ‘discovery’ described in the Plaintiff’s “duces tecum #5”
annexed hereto, be fulfilled

Case 5:17-CV-OO522-DNH-DEP Document 67-2 Filed 06/15/18 Page 30 of 85

g. The Plaintiff requests for the admission that, the Plaintiff had applied to multiple full time
positions, and was the most qualified candidate for at least one of those full time positions. If the
Defendant is unwilling to admit to this as fact, then the Plaintiff is, at the time of this same refusal
of the Defendant to admit, requesting that the ‘discovery’ described in the Plaintiff’s “duces tecum

#6” annexed hereto and “duces tecum #9 annexed hereto both, be fulfilled

h. The Plaintiff requests for the admission that, the Plaintiff was called in to work on nearly
every Saturday, and that this calling in of the Plaintiff brought no business advantage to the
Defendant. If the Defendant is unwilling to admit to this as fact, then the Plaintiff is, at the time of
this same refusal of the Defendant to admit, requesting that the ‘discovery’ described in the

Plaintiff’s “duces tecum #7” annexed hereto and “duces tecum #8 annexed hereto both, be fulfilled

Regards,

 

Michael Joseph Rotondo
Plaintiff

408 Weatheridge Dr.
Camillus, NY 13031

Case 5:17-cV-00522-DNH-DEP Document 67-2£ FiLeii £)6/%-§/18
di ' ~

CARTER CONB OY

ATFORNEYS AND COUNSELORS AT LAW
JAMEs c. BLAcKMoRE __
JoHN T. MALONEY 20 CORPORATE WOODS BOULEVARD

 

 

EDWARD D. LA|RD_ JR.+ ALBANY NEW YORK 12211-2396
JAMES A. RES|LA° (518) 465-§484 ' FAX (518) 465-1843
M|CHAEL .l. MuRPHv www.carterconboy.com

W|LL|AM D. YOQU|NTO

M|CHAEL .l. CATALF|MO° lOFFlCES ALSO IN SARATOGA SPRINGSI
W|LL|AM J. DECA|RE"

ADAM H. COOPER AlSO Admif!ed ln:

MACKENZIE C. MONACO 'Massachusetts

BR|AN D. CARR "New Jersey

M. ELlZABETH CORENO "Vermonf

THOMAS A. CAPEZZA

 

COUNSEL

JONATHAN E. HANSEN
W|LL|AM C. F|RTH‘
RET|RED

JAMES M. CONBOY

 

November16, 2017

l\/lichae| Joseph Rotondo
408 Weatheridge Drive
Camillus, NY 13031

Page 31 of 85

MA`|THEW J. DlLLON

GlNA T. ANGR|SANO

JOHN R. CANNEY, IV
STANLEY J. TARTAGLIA, JR.
BR|ENNA L. CHR|ST|ANO
COURTNEY E. GREEN
ANDREANNA M. DlLlBERTO"
KASEY K HILDONEN

 

OF COUNSEL

HON. DAV|D R. HOMER (Retired)
H()N. THOMAS E. MERCURE (Relired)
CHR|STOPHER J. WATT"
LAWRENCE R. HAM|LTON

JOHN H. PENNOCK. JR.

Re: Rotondo v. Best Buy Stores, LLC

Our fi|e: 28806

Dear Mr. Rotondo:

This letter is written ln response to your document entitled, “Response to
lnterrogatories and Request for Production of Documents dated November 5, 2017". You
seem to be under the impression that numbers of the interrogatories and the subject of
each numbered interrogatory must correspond with the numbered paragraphs in the
complaint and/or amended complaints That is not true. The interrogatories are
individually numbered on their own. They are not, and do not need to be, correspondent
with the numbered paragraphs in any complaint or amended complaints Please respond
to the interrogatories and request for production of documents as drafted

l am enclosing a new set of interrogatories With the name “Ryan Cook” removed
from the definitions, in order to eliminate any confusion on your part. Please respond to
this First Set of lnterrogatories and Request for Production of Documents.

A|so enclosed is a copy of the Answer to the Second Amended Complaint which

was e-filed on this date.

Very truly yoursl

CARTER, CONBOY, CASE, BLACKN|ORE,
MALONEY & LA|RD, P.C.

By:\% M/\

lV|Jl\/|;amb
Enclosures

Z"i

MicHAEL J_ MUBBHY g

CARTER, CONBOY, CASE, BLACKMORE, MALONEY & LAIRD, P.C.

 

Case 5:17-cV-00522-DNH-DEP DocumenL67-2 Fi|e 6/15/18 Page 32 of85

 

 

 

):, X 1\/1 |}` v

UNITED STATES DISTRICT COURT
NORTHERN DISTRICI` OF NEW YORK
MICHAEL JOSEPH ROTONDO,

Plaiuufc,
BEST BUY STORES, LLC,

Defendant
Michael Rotomk)
408 wearhecidge Dr.
Camillus, NY 13031
November 18, 2017
Carter and Conboy
20 Corporate Woods Boulevard
Albany, NY 12211.2396
Dear Carter and Conboy,

P]ease lead your interrogatory numbered “5”, then please lead paragraph 8(b) of the
operative pleading then please amend your interrogatories so that the paragraph’s referenced in
your interrogatories correspond to the opuative pleading

Regards,

’l/t liu
Michael Joseph made
Plaintiff
403 Marheadge Dr.
Camillus, NY 13031

 

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 0 5/18' Page 33 of 85

\-» )CL¢ ,\l/d

CARTER CONB GY

ATTORNEYS AND COUNSELORS AT LAW

 

JAMES C. BLACKMORE __ MA`|'THEW J. D|LLON
JOHN T. MALONEY 20 CORPORATE WOODS BOULEVARD GlNA T. ANGRISANO
EDWARD D. LA|RD, JR.+ ALBANY, NEW YORK 12211~2396 JOHN R. CANNEY. N
JAMES A. RESILA° (518) 465~3484 ~ FAX (518) 465-1843 STANLEY J. TARTAGLIA, JR.
M|CHAEL J. MURPHY www.carlerconboy.com BR|ENNA L. CHR|ST|ANO
W|LL|AM D YOQU|NTO COURTNEY E. GREEN

 

M|CHAEL J CATALF|MO' lOFFlCES ALSO lN SARATOGA SPR|NGS- ANDREANNA M. DlL|BERTO'*
W|LL|AM J DECAIRE' KASEY K HlLDONEN
ADAM H COOPER A|so Admitted ln: _
MACK.F.NZ|F. C MONACO ’Mas$achusells OF COUNSEL
BR|AN D CARR "New Jersey HON. DAVID R. HOMER (Retired)
M. EL|ZABETH CORENO +Vermont HON. THOMAS E. MERCURE (Retired)
THOMAS A. CAPEZZA CHRISTOPHER J. WATT"
_ LAWRENCE R. HAM|LTON
COUNSEL JOHN H. PENNOCK. JR.

JONATHAN E. HANSEN
W|LL|AM C. FlRTH'

RET|RED
JAMES M. CONBOY

December 6, 2017

Michael Joseph Rotondo
406 ".-'“\ieathe=.'idge Drive
Camillus, NY 13031

Re: Rotondo v. Best Buy Stores, LLC
Our fi|e: 28806

Dear lV|r. Rotondo:

We are in receipt of plaintiffs document titled “Plaintiff’s Requests for Discovery and
Admissions.” The defendant has responded to Plaintiff’s Requests to Admit as required by
Federal Rule of Civi| Procedure 36. P|ease find defendant’s Response to Plaintiff’s Request
to Admit enclosed herein.

However, the defendant is not required to respond to plaintiffs Subpoenas Duces
Tecum annexed to the demands As you knowl these Subpoenas were filed prior to the Rule
16 Conference held on November 2, 2017. At the conference, Magistrate Judge Peeb|es ruled
that these subpoenas were premature and that plaintiff was directed to ,_serve_..interrogatories
and/or requests for documents The defendant is not required to respond to these Subpoenas
which are now annexed to plaintiffs Notice to Admit. 4

. ,Thank you for your attention
Very truly yours,

CARTER, CONBOY, CASE, BLACKMORE,
|V|ALONEY & LA|RD, P.C.

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MchAEL J`MuRPHY o
MJl\/l:mmk ` b
Enclosure

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CARTER, CONBOY, CASE, BLACKMORE, MALONEY & LAIRD, P.C.

 

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 34 of 85

UN|TED STATES D|STR|CT COURT
NORTHERN D|STRlCT OF NEW YORK

lVl|CHAEL JOSEPH ROTONDO,
Plaintiff,
RESPONSE TO REQUEST FOR
D|SCOVERY AND ADN||SS|ONS

-against- Civil Case No. 5:17-CV-522 DNHlDEP

BEST BUY STORES, LLC,
Defendant

Defendant, Best Buy Stores, LLC, by and through its counse|, Carter, Conboy,
Case, Blackmore, l\/laloney & Laird, P.C., as and for a response to plaintiffs Request for
Discovery and Admissions, responds as follows,

PRELlMlNARY STATEMENT

The following answers are provided solely for the purposes of the instant litigation.
Defendant Best Buy Stores, LLC (hereinafter “answering defendants”), reserves all
objections as to competency, relevancy, materiality and admissibility of all responses,
information, materials and documents or the subject matter thereof, all objections as to
burden, vagueness, over breadth and ambiguity, as well as all rights to object on any
ground to the use of, including the exclusion of, any response, information, materials and
documents, or the subject matter thereof, in any subsequent proceeding, including
without limitation this or any other action. Al| objections are reserved and may be raised
at the time of trial.

The answering defendant has not completed its investigation of the facts relating

to this case and have not completed trial preparation. The responses are based upon the

information presently available to the answering defendant and are submitted without

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 35 of 85

prejudice to its right to utilize subsequently discovered facts and said defendant hereby
reserves its right to revise, correct, supplement or clarify these objections and/or
responses now made or made hereinafter. Furthermore, a failure to object herein shall
not constitute a waiver of any objection that the answering defendant may interpose as
to any future supplemental response.

GENERAL O§.l_ECTlONS

The answering defendant hereby objects to these Requests for Discovery and
Admissions to the extent that they seek the disclosure of any information subject to the
work product doctrine, attorney-client privilege and/or other applicable privileges and to
the extent that they seek documents and/or materials protected from discovery due to the
incorporation of any impressions, conclusions, opinions, legal research and/or theories of
said defendant within such documents and/or materials

lf any information within the scope of the attorney-client privilege and/or the
attorney work product doctrine is inadvertently disclosed, the answering defendant
reserves its right to assert those privileges at any time throughout the pendency of this
action. |n addition, all evidentiary objections are reserved and no waiver of objection is
to be implied from any response below.

The answering defendant further objects to these Requests for Discovery and
Admissions to the extent that they attempt to impose upon said defendant any
requirement or duty to respond which transcends the Federal Rules of Civil Procedure
and/or Local Rules.

Each response and objection asserted below is based upon the answering

defendant’s understanding of the Request for Discovery and Admissions. To the extent

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 36 of 85

that plaintiff asserts an interpretation of any Request for Discovery and Admission that is
inconsistent with the answering defendant’s understanding, said defendant hereby
reserves the right to supplement their responses and/or objections

The foregoing objections apply to each of the Requests for discovery and
Admissions served upon the answering defendant and are incorporated by reference
within each separate and distinct response Neither the failure to specifically mention a
General Objection in any answer or responsel nor the specification of any other objection,
shall be deemed a waiver of any objection to any discovery request

1. Answering defendant hereby objects to this particular request, as by the
breadth of its terms requires defendant to admit or deny matters solely within the
knowledge of the plaintiff, as it is vague and incomprehensible as propounded and as it
is patently improper pursuant to Rule 36 of the Federal Rules of Civil Procedure.

2. Answering defendant hereby objects to each of the following demands to
the extent that they are patently improper pursuant to the Federal Rules of Civil
Procedure. The following responses are given without waiving this objection.

a. Answering defendant hereby objects to this particular request as
propounded as it requires defendant to admit or deny matters within the
knowledge of nonparties, and as it calls for a legal conclusion, opinion
and/or argument, and therefore exceeds the scope of permissible discovery
under Rule 36. Without waiving said objection, answering defendant denies
both that plaintiffs requests for Saturday off in perpetuity was granted by

the defendant or any of its representatives and that an agreement was

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 37 of 85

formed upon which plaintiff could depend in accordance with company

policy.

. Answering defendant hereby objects to this particular request as

propounded as it is vague and overbroad in scope, and requires defendant
to admit or deny matters within the knowledge of nonparties Without
waiving said objections answering defendant admit only that plaintiffs
employment with the defendant was voluntarily terminated on l\/larch 7,

2016.

. Answering defendant hereby objects to this particular request as

propounded, as it is vague and overbroad in scope, calls for speculation
and conjecture, and requires defendant to admit or deny matters solely
within the knowledge of nonparties Without waiving said objections
answering defendant denies that it fraudulently procured a justification to
schedule plaintiff to work on October 31, 2015 or that the defendant

deliberately attempted to take the plaintiff away from his son on October 31,

2015.

. Answering defendant hereby objects to this particular request as

propounded, as it is vague and overbroad in scope, calls for speculation

and conjecture, requires defendant to admit or deny matters solely within

the knowledge of nonparties and as it fails to identify the time period to
which it refers Without waiving said objections defendant lacks knowledge
or information sufficient to enable them to either admit or deny this request

after having made reasonable inquiry.

 

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e. Answering defendant hereby objects to this particular request, as it is vague
and incomprehensible as propounded and requires defendant to admit or
deny matters within the knowledge of nonparties Without waiving said
objections defendant lacks knowledge or information sufhcient to enable
them to either admit or deny this request after having made reasonable
inquiry.

f. Answering defendant hereby objects to this particular request, as it is
overbroad in scope, seeks information irrelevant and/or immaterial to the
subject action, calls for speculation and conjecture and is incomprehensible
as propounded

g. Answering defendant hereby objects to this particular request as
propounded as it is vague and overbroad in scope, and requires defendant
to admit or deny matters within the knowledge of nonparties and calls for
speculation and conjecture. Without Waiving said objections defendant
lacks knowledge or information sufficient to enable them to either admit or
deny this request after having made reasonable inquiry.

h. Answering defendant hereby objects to this particular request as
propounded as it is vague and overbroad in scope, calls for speculation
and conjecture, requires defendant to admit or deny matter within the
knowledge of nonparties and fails to identify a time period. Without waiving
said objections defendant lacks knowledge or information suchient to

enable them to either admit or deny this request after having made

reasonable inquiry.

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 39 of 85

PLEASE TAKE NOT|CE, that answering defendant reserves its right to

supplement these responses pursuant to the Local Rules and/or the Federal Rules of

Civil Procedure up to and including the time of trial.

DATED: December 6, 2017 CARTER, CONBOY, CASE, BLACKMORE,
MALONEY & LA|RD, P.C.

M_

MicHAE~L/J_ MuRPHY '

Bar Roll No.: 102244
Attorneys for Defendant
Office and P.O. Address
20 Corporate Woods Boulevard
Albany, NY 12211-2396
Phone: (518) 465-3484
E-l\/lail: mmurphv@carterconbov.com

TO: lV|lCHAEL JOSEPH ROTONDO
Plaintiff, Pro Se
408 Weatheridge Drive
Camillus, NY 13031

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 40 of 85

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

MICHAEL JOSEPH ROTONDO,
Plaintiff,
- against - NOTICE TO TAKE DEPOSITION
UPON ORAL EXAMINATION
Civil Case No. 5:17-CV-522 DNH/DEP
BEST BUY STORES, LLC,

Defendant,

 

PLEASE TAKE NOTICE, that the deposition of the witness or parties named below shall be taken
pursuant to Rule 30 of the F ederal Rules of Civil Procedure and said depositions shall be taken at

the following designated time and location:

DEPONENT’S NAME: Joshua Louie
DATE AND TIME: May 10, 2018, at 1:40 p.m.
LOCATION: Precision Reporters PC

One Lincoln Center, Suite 750
110 W. Fayette Street

Syracuse, New York 13202

COURT REPORTER: Certified Shorthand Reporter to be
designated
METHOD OF RECORDING: Stenographic

DATED: April , 2018

 

MICHAEL J. ROTONDO
Plaintiff

408 Weatheridge Dr.
Camillus, NY 13031
Phone: (315) 415-3084

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 41 of 85

Exm,,i l

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

MICHAEL JOSEPH ROTONDO,
Plaintiff,
' against - W
UPON ORAL EXAMINATION
Civil Case No. 5:17-CV-522 DNH/DEP
BEST BUY STORES, LLC,
Defendant,

 

PLEASE TAKE NOTICE, that the deposition of the witness or parties named below shall be taken
pursuant to Rule 30 of the Federal Rules of Civil Procedure and said depositions shall be taken at

the following designated time and location:

DEPONENT’S NAME: “Mary”
DATE AND TIME: May 10, 2018, at 1:00 p.m.
LOCATION: Precision Reporters PC

One Lincoln Center, Suite 750
110 W. Fayette Street

Syracuse, New York 13202

COURT REPORTER: Certified Shorthand Reporter to be
designated
METHOD OF RECORDING: Stenographic

DATED: April , 2018

 

MICHAEL J. ROTONDO
Plaintiff

408 Weatheridge Dr.
Camillus, NY 13031
Phone: (315) 415-3084

Case 5:17-cV-00522-DNH-DEP Document 67-2 i|ed 0 /15/;8 Page 42 of 85

 

 

 

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UNITED STATES DISTRICT COURT

NORTHERN DISTRICT OF NEW YORK

MICHAEL JOSEPH ROTONDO,

Plaintiff,

- against - PLAINTIFF’S REQUEST FOR
DOCUMENTS
INTERROGATORIES AND
ADMISSIONS
Civil Case No. 5:17-CV-522
DNH/DEP

BEST BUY STORES, LLC,

Defendant,

 

The Plaintiff Michael Joseph Rotondo, propounds the following
interrogatories requests for production of documents and requests for
admissions to the Defendant, pursuant to Rules 33, 34, and 36 of the Federal

Rules of Civil Procedure, and demand answers and production in response.

REQUEST TO ADMIT
1. The Plaintiff is requesting for admission that, the Defendant had
terminated the Plaintiff for not amending his work-availability schedule to

include the availability for work on Saturdays.

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2. The Plaintiff is requesting for admission that, other single parents who
were females were not treated the same way as the Plaintiff was by the

Defendant,

3. The Plaintiff is requesting for admission that, the number of
transactions that have occurred within each and every 15 minute period, since
the previous 15 minute period, that any Best Buy Store is open, can be used to
effectively represent the staffing needs of that same Best Buy store, and the
staffing needs of any corresponding mobile department located within that same

store, for those same 15 minute time period(s).

INTERROGATORIES
4. Was the “Disposition Reason” of “Better Suited Candidate Selected -
Education”, described on page 22 of the “Exhibit A to Rule 26 Disclosure”,

itself referring to J osh Louie’s “education” as a cellular phone app developer?

5. What Was the retail experience of Josh Louie, previous to his
employment with Best Buy, with the names of those previous retail employers

and the duration of Josh’s employment with those same previous employers?

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 44 of 85

6. Was the Defendant aware that the Plaintiff had a young son, which he

saw on each and every Saturday, for the entire day on those same Saturdays?

7. Was the Defendant aware that the Plaintiff had a young son, which he
saw on each and every Saturday, for the entire day on those Same Saturdays, on

or shortly after the Plaintiff’s hiring in 2012?

8. Did the Defendant consistently and perpetually place the Plaintiff in the
“portable audio” or “networking” sections of his departrnent, while other
employees With less experience then the Plaintiff placed in the cellular-phone

section?

REQUEST TO DEPOSE
9. The Plaintiff requests for the Defendant to produce “Mary”, for oral

deposition.

10. The Plaintiff requests for the Defendant to produce “Romeshia Paul”,

for oral deposition

11. The Plaintiff requests for the Defendant to produce “Mariah

Goddard”, for oral deposition.

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 45 of 85

12. The Plaintiff requests for the Defendant to produce “Josh Louie”, for

oral deposition.

REQUEST FOR DOCUMENTS

13. The data in “Exhibit A to rule 26 disclosure”, as a spreadsheet data file
of, Microsoft Excel 2007-2013 XML (.xlsx) and, as a Text CSV (.csv) each and
both. Further, each should be select-able as a format to “save as”, and by
providing both, this effectively eliminates the possibility of any one data format

provided, being unusable to the Plaintiff.

14. The Work availability requests of all the employees in the mobile
departrnent, that pertained to, or would pertain to, the Halloween of 10/31/2015,
so that it rnay be seen when any request was made to have that same Halloween
off from work, and whom approved or denied each of those same requests and

at what date and time.

15. The work availability request of the Plaintiff, which pertained to
Saturdays, so that it may be seen Whom each and every individual was Whom

had approved the Plaintiff’s request to have all Saturdays off in perpetuity, and

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 46 of 85

When each of those same approvals of, that same request to have all Saturdays

off in perpetuity took place.

16(a). The mobile work schedule of 2015 for the Best Buy Store located
at 9090 Destiny USA Dr. Syracuse NY 13290, as a list of the logs of the each of
the mobile employees starting work, and logs of each mobile employee ending
work. On a comma separated text file consisting of the information, each
separated by comma, of the month of the log entry, the day of the log entry, the
year of the log entry, the hour of the log entry, the minute of the log entry, a
method of indication AM or PM of the log entry (if not in military time), the
day of the Week of the log entry, the indication of if the log entry itself is
indicating the start of work or the end of work, and the name of the employee
for the log entry, with each entry being one line per log entry; for every
Saturday of the year of 2015 and;

16(b). The number of transactions that have occurred in the store within
each and every 15 minute period, since the previous 15 minute period, that the
Best Buy Store located at 9090 Destiny USA Dr. Syracuse NY 13290 is open,
as a list of entries for every 15 minute interval that the store is open, on a
comma separated text file consisting of the information each separated by
comma, the month of the log entry, the day of the log entry, the year of the log

entry, the hour of the log entry, the minute of the log entry, a method of

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 47 of 85

indicating AM or PM of the time of the log entry (if not in military time) and,
the number of transactions that have occurred in the store within that 15 minute
period since the previous 15 minute period, with each entry being one line per
log entry; for every Saturday of the year of 2015.

16(c). The Plaintiff is also requesting that this same data described in this
section (16) be provided in the format of Microsoft Excel 2007-2013 XML

(.xlsx), in addition to being also provided in Text CSV (.csv) format.

DATED: April __, 2018

 

MICHAEL J. ROTONDO
Plaintiff

408 Weatheridge Dr.
Camillus, NY 13031

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ATTORNEYS AT LAW

Brienna L. Christiano
Associate
Email: bchristia.no@carterconboy.com

May15, 2018

VlA E-MA|L - m.j.rotondo@gmail.com
AND FlRST CLASS MA|L

Michael Joseph Rotondo
408 Weatheridge Drive
Camillus, NY 13031

Re: Rotondo v. Best Buy Stores, LLC
Our tile: 28806

Dear Mr. Rotondo:

As you know, our office represents Best Buy Stores, LLC relative to the above-
referenced matter. Please accept this correspondence as our good faith effort to
complete depositions prior to the court-ordered deadline of June 4, 2018.

At the telephone conference before l\/lagistrate Judge Peebles on May 10, 2018,
you indicated that you plan to depose Samantha Precourt and Mary. As you know,
Samantha Precourt is no longer an employee of Best Buy. |n addition, while you have
not provided a last name for Mary to enable us to confidently identify this employee, we
are aware of an employee named Mary Davis who is no longer employed by Best Buy.

These employees will need to be subpoenaed fortestimony. Priorto serving these
subpoenas please advise of the date on which you plan to subpoena these employees
for testimony, so that we may ensure that our oche is available to appear for same.

Please notify our office immediately if you plan to take different or additional
depositions from those discussed herein, so that we may agree to mutually convenient
times to hold those depositions

Thank you for your attention.

Very truly yours

ol…;imw)

BR|ENNA L. CHR|ST|ANO
BLC:mmk

 

CARTER, CONBOY, CASE, BLACKMORE MALONEY & LAlRD, P.C.

20 COrpOfClie WOOC!S BlVCl., Suite 500, Albany, NY l22l l i TEl. 518.465.3484 l FAX 518.465`1843 § COr'lerCOnbOy.COm

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 4l - f8
5/2/2018 Gmail - Rorondo v. Best Buy stores, LLC /our Fi|e: 28806 P€Q£ \‘ 9 ‘¢ 5["

 

Gmall Mike Rotondo <m.j.rotondo@gmail.com>

 

Rotondo v. Best Buy Stores, LLC lOur Fi|e: 28806

2 messages

 

Me|issa M. Ke||y <mke||y@carterconboy.com> Tue, May 15, 2018 at 10:44 AM

To: "m.j.rotondo@gmail.com" <m.j.rotondo@gmail.com>

CARTER CONBOY

Attorneys and Counselors at Law

Please forward any response to this e-mail directly to bchristiano@Carterconboy.Com

Please see the attached.

 

 

Thank you.
Melissa Nl. Kelly
'_ My% Legal Secretary
C A RT E R C 0 N B 0 Y W: www.carterconboy.com
running Ar LAW P: (518)465-3484 F: (518)465-1843
Tundess fntegrity Trreles Counsef.

E: mkel|y@carterconboy.com

A: 20 Corporate Woods Blvd., Suite 500. Albany, NY 12211

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 50 of 85
6/2/2018 Gmail - Rotondo v. Best Buy Stores, LLC /Our Fi|e: 28806
CARTER, CONBOY, CASE, BLACKMORE, MALONEY & LA|RD, P.C. CONFlDENT|ALlTY NOTlCE: This email contains information which may

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the sender by reply email.

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§ Letter to Rotondo re depositions.pdf
62K

 

Mike Rotondo <m.j.rotondo@gmail.com> Tue, May 15, 2018 at 1104 PM

To: "Brienna L. Christiano" <bchristiano@carterconboy.com>
Cc: jresi|a@carterconboy.com

| had called your firm yesterday May 14th, and talked to your calendar person, who was named Sarah l believe, and l
had mentioned that l wanted to depose Samantha Precourt and Joshua Louie and, Mr.Murphy was aware of these
changes on Thursday May 10th.

Also, we do not have the time for these letter correspondences.

Please return to me the checks for Mary, and Mariah Goddard.

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 PagESlLo/fl&£ /\/)
"lh 6/2/2018 Gmail - Scheduling Depositions - Rotondo v. Best Buy Stores, LLC X ‘
Gmail Mike Rotondo <m.j.rotondo@gmail.com>
Scheduling Depositions - Rotondo v. Best Buy Stores, LLC
10 messages
Sarah R. Greaves <sgreaves@carterconboy.com> Tue, May 15, 2018 at 2102 PM
nw To: Mike Rotondo <m.j.rotondo@gmail.com>
Good afternoon Mr. Rotondo. Please advise of your availability for the depositions of Samantha Precourt and Joshua
Louie to be held at the US District Court, Northern District of New York in Syracuse. l vin'|l then check your proposed
dates against Mr. Murphy’s calendar for mutually agreeable dates
Thank you.
Sarah R. Greaves
m W,W Scheduling Coordinator
ss it
C A RT E R C 0 N B 0 Y W: www.carterconboy.com
‘“TQRNEVS AT LAW P: (518) 465-3484 F: (518)465-1843
””‘ runaessmc¢gziry.rwess cwasei_
E: sgreaves@carterconboy.com
A: 20 Corporate Woods Blvd.\ Suite 500, Albany, NY 12211

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anyone the email, or any information contained in the email. lt you have received the communication in error, please delete the emai| and advise
the sender by reply email.

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Mike Rotondo <m.j.rotondo@gmail.com> Tue, May 15, 2018 at 2:24 PM
To: "Sarah R. Greaves" <sgreaves@carterconboy.com>

M https://mail.google.com/mail/u/O/?ui=2&ik=2e635fbc9b&jsver=-deNc9Y02g.en.&cbl=gmai|_fe_180516.06_p8&view=pt&q=carterc... 1/6

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 52 of 85

6/2/2018 Gmail - Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

Both Samantha Precourt and Josh Louie for:
.June 12th 1100 pm

One Lincoln Center

110 West Fayette Street, Suite 750
Syracuse. New York 13202

Also, do you have a response to those checks that |'ve asked you to return to me?

 

Sarah R. Greaves <sgreaves@carterconboy.com> Tue, May 15, 2018 at 2:46 PM
To: Mike Rotondo <m.j.rotondo@gmail.com>

The checks will be sent back to you. There is a 6/4 discovery deadline on this matter. Please provide your availability
through 6/4. Also, we would like to hold the depositions at the US District Court. Northern District of New York in
Syracuse.

 

 

 

Thank you,
Sarah R. Greaves
s Scheduling Coordinator
j re
C A RT E R C 0 N B 0 Y W: www.carterconboy.com
%_,N/*W
M"rognns Ay LAW P: (518) 465-3484 F: (518) 465-1843

T'rmeless ht€z!ftv. Tnefess Coimsel.
E: sgreaves@carterconboy.com

A: 20 Corporate Woods Blvd., Suite 500, Albany, NY 12211

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the sender by reply email.

OOtD

From: Mike Rotondo [mailto:m.j.rotondo@gmai|.com]
Sent: Tuesday, May 15, 2018 2:24 PM

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 53 of 85
’R 6/2/2018 Gmail - Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

To: Sarah R. Greaves <sgreaves@carterconboy.com>
Subject: Re: Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

[Quoted text hidden]

From: Sarah R. Greaves
Sent: Tuesday, May 15, 2018 2:03 PM
31 To: 'Mike Rotondo' <m.j.rotondo@gmail.com>
Subject: Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

[Quoted text hidden]

 

’8 Mike Rotondo <m.j.rotondo@gmail.com> Tue, May 15, 2018 at 3:17 PM
To: "Sarah R. Greaves" <sgreaves@carterconboy.com>

l need enough time to receive from the court, then serve, a rule 45 subpoena, 6/4 doesn‘t allow for enough time for that,
and we may hold depositions whenever we agree is reasonable so l don't see why l should have to risk failure to serve.

 

 

 

 

 

cat
Ho|ding the deposition at the Federal building sounds reasonab|e, but l'm already familiar with the office of precision
reports why do you want to make it at an unfamiliar place?
fs
Mike Rotondo <m.j.rotondo@gmail.com> Wed, May 16, 2018 at 10:55 AM
To: "Sarah R. Greaves" <sgreaves@carterconboy.com>
| expect to be in downtown Syracuse today for several hours with my rule 45 subpoena available to me. Please contact
cs me about these depositions so l may request the clerk to sign my rule 45 subpoena with plenty of time to serve it.
Sarah R. Greaves <sgreaves@carterconboy.com> Wed, May 16, 2018 at 11:00 AM
To: Mike Rotondo <m.j.rotondo@gmail.com>
Per our discussion yesterday, | am waiting for you to send me your available dates (during the month of
June as you requested).
K Thanks,
“'"“"’-<g Sarah R. Greaves
m ca
CARTER§CONBOY _ ,
%% wax Scheduling Coordinator
A‘r'roaNEvs Ar LAW
T-Mss tm males met W: www.carterconboy.com

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 54 of 85

6/2/2018 Gmail - Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

P: (518) 465-3484 i=: (518) 465-1843
E: sgreaves@carterconboy.com

A: 20 Corporate Woods Blvd., Suite 500, Albany, NY 12211

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the sender by reply email.

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From: l\/like Rotondo [mai|to:m.j.rotondo@gmail.com]

Sent: Wednesday, May 16, 2018 10:55 AM

To: Sarah R. Greaves <sgreaves@carterconboy.com>

Subject: Re: Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

l expect to be in downtown Syracuse today for several hours with my rule 45 subpoena available to me. Please contact
me about these depositions so l may request the clerk to sign my rule 45 subpoena with plenty of time to serve it.

 

Mike Rotondo <m.j.rotondo@gmail.com>
To: "Sarah R. Greaves" <sgreaves@carterconboy.com>

Per our discussion, you were supposed to call me. Anytime after June 12th should be fine for me.

Wed, May 16, 2018 at 1_1:02 AM

 

Sarah R. Greaves <sgreaves@carterconboy.com>
To: Mike Rotondo <m.j.rotondo@gmail.com>

We discussed 6/7 yesterday, have you confirmed whether or not you are availab|e? As of right now, Mr.
Murphy also has availability on 6/22, 6/26, 6/28 and 6/29.

Thank you,

Sarah R. Greaves

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Wed, May 16, 2018 at 11:08 AM

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firm

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 55 of 85
6/2/2018 Gmail - Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

 

 

 

CA RT E R C 0 N B 0 Y scheduling coordinator

ATTORNEVS AY LAW
Timeless hitegrity. Tuefess Counsel_

W: www.carterconboy.com
P: (518) 465-3484 F: (518) 465-1843
E: sgreaves@carterconboy.com

A: 20 Corporate Woods Blvd., Suite 500, Albany, NY 12211

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From: Mike Rotondo [mai|to:m.j.rotondo@gmail.com]

Sent: Wednesday, May 16, 2018 1_1:03 AM

To: Sarah R. Greaves <sgreaves@carterconboy.com>

Subject: Re: Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

Per our discussion, you were supposed to call me. Anytime after June 12th should be fine for me.

 

Mike Rotondo <m.j.rotondo@gmail.com> Wed, May 16, 2018 at 1_1:14 AM
To: "Sarah R. Greaves" <sgreaves@carterconboy.com>

What's his availability between 6/7 and 6/18?

 

Sarah R. Greaves <sgreaves@carterconboy.com> Wed, May 16, 2018 at 11:26 AM
To: Mike Rotondo <m.j.rotondo@gmail.com>

Hi Mr. Rotondo. |just spoke with Mr. l\/lurphy and as mentioned in my previous emails, there is a discovery
deadline of 6/4, for the referenced matter. We do in fact need to have all depositions completed no later than
6/4. Please disregard any emails | sent you with our June availability, as these available dates no longer
apply to this matter. As originally requested please provide me with your availability through 6/4. Should you
have any questions please feel free to contact me.

https://mail.goog|e.com/mail/u/O/?ui=2&ik=2e635fbc9b&jsver=-deNc9YOZg.en.&cbl=gmai|_fe_180516.06_p8&view=pt&q=carterc... 5/6

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 56 of 85
6/2/2018 Gmail - Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

Thank you,

Sarah R. Greaves

Scheduling Coordinator

 

 

mg

A“»QRN Eys AT LAW P: (518) 465-3484 F: (518) 465~1843
Tmsedess fntegrfty` `l"uelm Counsei.

C A RT é R C 0 N B 0 Y W: www.carterconboy.com

E: sgreaves@carterconboy.com

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the sender by reply email.

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From: Mike Rotondo [mailto:m.j.rotondo@gmail.com]

Sent: Wednesday, May 16, 2018 1_1:15 AM

To: Sarah R. Greaves <sgreaves@carterconboy.com>

Subject: Re: Scheduling Depositions - Rotondo v. Best Buy Stores, LLC

What's his availability between 6/7 and 6/18?

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 P?\§je 57 of 85

Michael Rotondo
408 Weatheridge Dr.
Camillus, NY 13031

May 21, 2018

Carter and Conboy
20 Corporate Woods Boulevard
Albany, NY 12211-2396

This letter is in response to Defendant’s letter to the Plaintiff, itself dated May
15, 2018,

Dear Carter and Conboy,

1. The Plaintiff had called your firm on May 14th, and talked to your calendar
person, whom he believes was named Sarah, and had mentioned to her that he wanted

to depose Samantha Precourt and Joshua Louie.

2. To the best of the Plaintiff’s recollection, he had affirmatively represented
that he Was both, no longer interested in deposing either Mary or Mariah Goddard
and, seeking a deposition of Joshua Louie and Samantha Precourt, at the telephone
conference of Thursday May 10th and, that this same claim is demonstrated as fact

within the record of that same conference.

3. The Plaintiff had requested that some of the checks that he had send the
Defendant be returned to him. The Plaintiff had specified specifically which checks
he wished returned to him, in an email to Defendant. The Plaintiff subsequently
referenced those same checks requested in this same email, in a subsequent email.

The check of Joshua Louie was never requested to be returned to the Plaintiff, and no

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 58 of 85

communication between the Plaintiff and the Defendant could have been construed

otherwise.

4. With consideration of the events described in paragraphs 1, 2, and 3, the
Defendant had sent Joshua Louie’s check back to the Plaintiff, along with the checks
that the Plaintiff requested returned

5. The Defendant was unwilling to allow the Plaintiff reasonable time to serve
a Rule 45 subpoena onto Samantha Precourt, the court has denied a telephone

conference regarding this same Rule 45 subpoena.

6. The Plaintiff has included in this letter to the Defendant, the check for

Joshua Louie, that was inappropriately returned to him.
7. The Plaintiff is requesting the Defendant’s availability, to produce for
deposition Joshua Louie. The Plaintiff is proposing the date of June 4, 2018 for this

same deposition of Joshua Louie.

Please respond with Defendant’s availability to produce for deposition defendant’s

own Joshua Louie,

Regards,

 

MICHAEL J. ROTONDO
Plaintiff

408 Weatheridge Dr.
Camillus, NY 13031

"""'C`étse'5:1'7'-'C'V-005'22-'DNH-DEP DOC'Uffiént`G`?-"Z" `Filed 06/15/18 'Pa'Q"e' 59 Of 85`" ` ' `

EX nut 0

UN|TED STATES D|STR|CT COURT
NORTHERN D|STRICT OF NEW YORK

M|CHAEL JOSEPH ROTONDO,

Plaintiff,
RESPONSE TO REQUEST FOR
D|SCOVERY AND ADMlSS|ONS
-against- . Civil Case No. 5:17-CV-522 DNHIDEP
BEST BUY STORES, LLC,
Defendant.

 

Defendant, Best Buy Stores, LLC, by and through its counsel. Carterl Conboy,
Case, B|ackmore, Ma|oney & Laird, P.C., as and for a response to plaintiffs Request for
Documents interrogatories and Admissions responds as follows

PREL|M|NARY STATEMENT

The following answers are provided solely forthe purposes ofthe instant |itigation.
Defendant Best Buy Stores, LLC (hereinafter “answering defendant"), reserves all
objections as to competency, relevancy, materiality and admissibility of all responses,
information, materials and documents or the subject matter thereofl all objections as to
burden, vagueness over breadth and ambiguity, as well as all rights to object on any
ground to the use of, including the exclusion of, any response, information, materials and
documents or the subject matter thereof, in any subsequent proceeding, including
without limitation this or any other action, All objections are reserved and may be raised
at the time of trial.

The answering defendant has not completed its investigation of the facts relating
to this case and have not completed trial preparation. The responses are based upon the

information presently available to the answering defendant and are submitted without

“`" . C'at'Sé 5:17-`CV-'00522-DNl-l-DEP `DOCU`rTle'nt'G?'-Z" Fi|é`d'OG/lB/lS"""Page' 60 'Of'8`5 '

prejudice to its right to utilize subsequently discovered facts and said defendant hereby
reserves its right to revise, correct, supplement or clarify these objections and/or
responses now made or made hereinafter. Furthermore, a failure to object herein shall
not constitute a waiver of any objection that the answering defendant may interpose as
to any future supplemental response
GENERAL OMTIONS

The answering defendant hereby objects to these Request for Documents
interrogatories and Admissions to the extent that they seek the disclosure of any
information subject to the work product doctrine, attorney-client privilege and/or other
applicable privileges and to the extent that they seek documents and/or materials
protected from discovery due to the incorporation of any impressions conclusions
opinions legal research and/or theories of said defendant within such documents and/or
materials

lf any information within the scope of the attorney-client privilege and/or the
attorney work product doctrine is inadvertently disclosed the answering defendant
reserves its right to assert those privileges at any time throughout the pendency of this
action. |n addition, all evidentiary objections are reserved and no waiver of objection is
to be implied from any response below.

The answering defendant further objects to these Request for Documents
interrogatories and Admissions to the extent that they attempt to impose upon said

defendant any requirement or duty to respond which transcends the Federal Rules of Civil

Procedure and/or Local Rules

" ` ' ` Case 5:17'-'°c`\/-`00522'-'DNH-DEP‘ Docume`nt"67-2" F'i|"e‘d`06/15/18 " Page"61 of 85 ' "

Each response and objection asserted below is based upon the answering
defendant’s understanding of the Request for Documents interrogatories and
Admissions. To the extent that plaintiff asserts an interpretation of any Request for
Documents interrogatories and Admissions that is inconsistent with the answering
defendant’s understandingl said defendant hereby reserves the right to supplement their
responses and/or objections

The foregoing objections apply to each of the Request for Documents
interrogatories and Admissions served upon the answering defendant and are
incorporated by reference within each separate and distinct response Neitherthe failure
to specifically mention a General Objection in any answer or response, nor the
specihcation of any other objection, shall be deemed a waiver of any objection to any
discovery request

REQUEST TO ADM|T

RequestNo.1: The Plaintiff is requesting for admission that, the
Defendant had terminated the Plaintiff for not amending his work-availability
schedule to include the availability for work on Saturdays.

Response No. 1: Answering defendant admits only that plaintiff was instructed
that he was required to comply with Best Buy’s Availability Standards,‘and otherwise deny
that plaintiff was terminated

Request No. 2: The Plaintiff is requesting for admission that, other single

parents who were females were not treated the same way as the Plaintiff was by

the Defendant.

‘ ease 5:117:cv-'oos'22-DNH'-DEP" Document `6'7-‘2' ’ i=ileoi' 06/15/13"' Pag`e 62 or 85

Response No. 2: Answering defendant hereby objects to this particular request
as propounded as it calls for a legal conclusionl opinion and/or argument, and therefore
exceeds the scope of permissible discovery under Rule 36. Without waiving this
objection, answering defendant denies that plaintiff was treated differently than other
single parents who were females

Request No. 3: The Plaintiff is requesting for admission that, the number
of transactions that have occurred within each and every 15 minute period since
the previous 15 minute period that any Best Buy Store is open, can be used to
effectively represent the staffing needs of that same Best Buy store, and the
staffing needs of any corresponding mobile department located within that same
store, for those same 15 minute time period(s).

Response No. 3: Answering defendant hereby objects to this particular request
as propounded as it requires defendant to admit or deny matters within the knowledge
of nonparties Without waiving this objection, answering defendant admits only that the
number of transactions is one measure that could be analyzed by answering defendant
to assess staffing needs at any Best Buy store

|NTERROGATOR|ES

interrogatory No. 4: Was the “Disposition Reason” of “Better Suited
Candidate Selected - Education”, described on page 22 of the “Exhibit A to Rule
26 Disclosure”, itself referring to Josh Louie’s “education” as a cellular phone app
developer?

Response No. 4: Answering defendant hereby objects to this particular request

as propounded,~as it requires defendant to admit or deny matters within the knowledge

all

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ease 5':i7-cv$00522'§DN`H`4oEF5 "r')oéu`:mé‘ni"67‘-'2""`Filéd 06/15/`13 Page "63 or'e`s`"` " "

of nonparties, seeks information irrelevant and/or immaterial to the subjection action, and
seeks privileged and/or conhdential information. Without waiving this objection,
answering defendant admits only that this document states “Disposition Reason: Better
Suited Candidate Selected - Education.” BBSOOZ77. To the extent that plaintiff is
seeking the intent of this statementl answering defendant objects to that particular request
as it calls for speculation and conjecture, as it relates to a statement of a former employee.

interrogatory No. 5: What was the retail experience of Josh Louie, previous
to his employment with Best Buy, with the names of those previous retail
empioyers, and the duration of Josh’s employment with those previous
employers?

Response No. 5: Answering defendant hereby objects to this particular request
as propounded as it requires defendant to admit or deny matters within the knowledge
of nonparties, seeks information irrelevant and/or immaterial to the subjection action, and
seeks privileged and/or confidential information,

interrogatory No. 6: Was the Defendant aware that the Plaintiff had a young
son, which he saw on each and every Saturday, for the entire day on those same
Saturdays?

Response No. 6: Answering defendant hereby objects to this particular request a
propounded as it requires defendant to admit or deny matters within the knowledge of

nonparties, seeks information irrelevant and/or immaterial to the subject action, and calls

for speculation and/or conjecture, Without waiving said objections, defendant admits on|y'

that plaintiff referenced a “baby momma” on his emergency contact form in 2012.

BBCOOZ12. Defendant lacks knowledge and information sufficient to enable them to

 

 

 

 

" ` Case 5`:§[7'-Cv10052`2-DNH-DEP Docum`en't`67-2 Flled 0`6/15/18 "Page"'tiA"'ofSB

either admit or deny plaintiffs alleged child custody arrangements during his employment
with Best Buy. To the extent applicable, answering defendant refers plaintiff to the “Order
of Custody and Parenting Time” dated October 28, 2011 which ordered parenting time as
follows:

1. Each and every Tuesday, from 1:00 p.m. until 9:00 p.m.;

2. Each and every i=rldayl from 1:00 p.m. until 9:00 p.m.;

3. Each and every Sunday, from 10:OO a.m. until 6:00 p.m.;

4. One overnight per week, from 6:00 p.m. until 12100 p.m. the following day, on

the day of the week as mutually agreed by the parties[.]
. See, Response to interrogatories and Request for Production of Documents.
interrogatory No. 7: Was the Defendant aware that the Plaintiff had a young
son, which he saw on each and every Saturday, for the entire day on those same
Saturdays, on or shortly after the Plaintiff’s hiring in 2012?

Response No. 7: Answering defendant hereby objects to this particular request
as propounded as it requires defendant to admit or deny matters within the knowledge
of nonparties, seeks information irrelevant and/or immaterial to the subject action, and
calls for speculation and/or conjecture Withoutwaiving said objections defendant admits
only that plaintiff referenced a “baby momma” on his emergency contact form in 2012.
BBCOOZtZ. Defendant lacks knowledge and information sufficient to enable them to
either admit or deny plaintiffs alleged child custody arrangements during his employment

with Best Buy in 2012.

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interrogatory No. 8: Did the Defendant consistently and perpetually place
the Plaintiff in the “portable audio” or “networking” sections of his departrnent,
while other employees with less experience then the Plaintiff placed in the cellular-
phone section?

Response No. 8: Answering defendant hereby objects to this particular request
a propounded as it requires defendant to admit or deny matters within the knowledge of
nonparties, seeks information irrelevant and/or immaterial to the subject action, and calls
for speculation and/or conjecture, Without waiving said objections, defendant admits only
that plaintiff was employed in the Wireless Sales Department. Answering defendant
denies that there is any significance in plaintiffs placement in either department
Defendant lacks knowledge and information sufficient to enable them to either admit or
deny this request to the extent that it seeks information about the "experience” of other
employees

REQUEST TO DEPOSE

9-12. These demands do not require a response. Answering defendant relies on
Rules 30 and 45 of the Federal Rules of Civil Procedure for the proper and appropriate
procedure for party and non-party depositions

REQUEST FOR DOCUMENTS

13. Answering defendant hereby objects to this particular request as
propounded as it is vague, ambiguous and incomprehensible as propounded To the
extent that plaintiff is requesting the “Avaiiability Data Spreadsheet,” “Punch Data
Spreadsheet,” “Schedule Data Spreadsheet,” and “Timesheet Data" in Microsoft Excel

and Text CSV formats, same is annexed hereto as “Exhibit A.”

14. Answering defendant hereby objects to this particular request as
propounded as it seeks information irrelevant and/or immaterial to the subject action,
seeks privileged and/or conhdentiai information. Without waiving said objections, due to
document retention policies, “Availability Change" requests and details are no longer
available Copies of partially redacted Availability Spreadsheets have been annexed as
part of Exhibit “A” to Defendant’s Second Supplemental Rule 26 Disclosure See,
(BBSOOSZ?-BBSOOSSB).

15. , Answering defendant hereby objects to this particular request as
propounded as it seeks information irrelevant and/or immaterial to the subject action, and
as it is vague and incomprehensib|e. Without waiving said objections, due to document
retention policies, “Availability Change" requests and details are no longer available
Answering defendant disclosed plaintiffs “Availability Data” as part of Exhibit A to its
Supplemental Rule 26 Disclosure (BBSOOZ78-280) and has provided this data in two
additional formats as part of Exhibit Al herein.

16.

a. Answering defendant hereby objects to this particular request as
propounded as it seeks information, as it is overbroad in scopel seeks
information irrelevant and/or immaterial to the subject action, seeks
privileged and/or confidential information and is incomprehensible
Furthermore, answering defendants object to this demand to the extent that
it is requesting that answering defendants produce documents in a format

1 other than the manner in which they were maintained in the ordinary course

of business See, Pass & Sevmour. lnc. v. Hubbell, lnc., 255 F.R.D. 331,

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333-334 (N.D.N.Y. 2008); Federal Rule of Civil Procedure 34(b)(2). Without
waiving said objection, answer defendant disclosed the mobile department
empioyees’ availability data as part of Exhibit A to defendant’s Second
Supplemental Rule 26 Disclosure (BBSOOSZ?-BBSOOSSS).

b. Answering defendant hereby objects to this particular request as
propounded as it seeks information, as it is overbroad in scope and seeks
information irrelevant and/or immaterial to the subject action. Furthermore,
answering defendants object to this demand to the extent that it is
requesting that answering defendants produce documents in a format other
than the manner in which they were maintained in the ordinary course of
business See, Pass & Sevmour. |nc. v. Hubbell, lnc., 255 F.R.D. 331, 333-
334 (N.D.N.Y. 2008); Federal Rule of Civil Procedure 34(b)(2). Without
waiving said objections,~a copy of the transaction data for the subject store
has been annexed as part of Exhibit “A" to Defendant’s Second
supplemental Rule 26 Disclosure See, (BBSOOSSQ-BBSOOSi).

c. Answering defendant hereby objects to this particular request, as answering
defendant has objected to providing plaintiff with the names of these
employees as such information is confldentiai, immaterial and/or irrelevant

to the present action.

"CaS'e""S117¥CV4005221"UNH4'DEP‘ `:ijO`Cumeh`t 67-‘2' Filed 06/15/18` Pag`é 68 Of`85

PLEASE TAKE NOT|CE, that answering defendant reserves its right to

supplement these responses pursuant to the Local Rules and/or the Federal Rules of

Civii Procedure up to and including the time oftria|.

DATED: May17,2018

DATED: Mayst,i, 2018

TO:

M|CHAEL JOSEPH RoToNDO
Plaintiff, Pro Se

408 Weatheridge Drive
Camillus, NY 13031

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General i\/lanager, Store 538

CARTER, CONBOY, CASE, BLACKMORE,
` MALONEY & LA|RD, P.C.

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iVilCHAEL J. MURP®

Bar Roll No.: 102244
Attorneys for Defendant, Best Buy Stores` LLC
Office and P.O. Address
20 Corporate Woods Boulevard
Albany, NY 12211-2396
Phone: (518) 465-3484
E-Maii: mmurphv@carterconbov.com

Case 5:17-Cv-00522-DNH-DEP Document 67-2 Filed OG/-t€/t% fag@£? of 85
6/2/2018 small - oeposition 115 X 1 l

 

Gmals Mike Rotondo <m.j.rotondo@gmail.com>

 

Deposition

6 messages

 

Mike Rotondo <m.j.rotondo@gmail.com> Mon, May 21, 2018 at 3111 PM
To: "Brienna L. Christiano" <bchristiano@carterconboy.com>

Just reiterating my conversation with Sarah with you,

We've confirmed the deposition of Joshua Louie, at the Federal building on May 31, at lOam, room to be determined

 

Brienna L. Christiano <bchristiano@carterconboy.com> Mon, May 21, 2018 at 3:19 PM
To: Mike Rotondo <m.j.rotondo@gmail.com>
Cc: "Michael J. Murphy" <mmurphy@carterconboy.com>

Nlr. Rotondo,

We confirm that we will appear at the subpoenaed non-party deposition of Josh Louie on May 31, 2018 at
10:00 a.m. at the courthouse

 

 

Thank you,
Brienna
Brienna L. Christiano
…“ Associate

, irs
C A RT E R C 0 N B o Y W¥ www.carterconboy.com

%UW.M"’)

Arronusvs Ar LAw P: (518)465-3484 r=: (518)465-1843
Trmeiess inmfifx Tireiess Comse|,

E: bchristiano@carterconboy.com

A: 20 Corporate Woods Blvd., Suite 500, Albany, NY 12211

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Case 5:17-Cv-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 70 of 85
6/2/2018 Gmail - Deposition

CARTER, CONBOY, CASE, BLACKMORE, MALONEY & LAlRD, P.C. CONF|DENTIAL|TY NOTlCE: This email contains information which may
be confidential and privileged Un|ess you are the addressee (or authorized to receive for the addressee), you may not use, copy, or disclose to
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IRS CIRCU LAR 230 NOTlCE: To ensure compliance with lnternal Revenue Service Circuiar 230, we inform you that any discussion of a U.S.
federal tax issue contained in this communication tincluding any attachments) is not intended or written to be used and cannot be used for the
purpose of (i) avoiding penalties under the lnternai Revenue Code; or (ii) promoting, marketing, or recommending to another party any transaction

or matter addressed herein.

From: Mike Rotondo [maiito:m.j.rotondo@gmaii.com]
Sent: Monday, May 21, 2018 3111 PM

To: Brienna L. Christiano <bchristiano@carterconboy.com>
Subject: Deposition

Just reiterating my conversation with Sarah with you,

We've confirmed the deposition of Joshua Louie, at the Federal building on May 31, at 10am, room to be determined

 

Mike Rotondo <m.j.rotondo@gmail.com> Mon, May 21, 2018 at 3:22 PM
To: "Brienna L. Christiano" <bchristiano@carterconboy.com>

Josh is an employee of the defendant, and l've requested that you produce himl so i'm expecting that you will produce
him for that deposition. On May 3lst at 10 am at the Federal building.

 

Brienna L. Christiano <bchristiano@carterconboy.com> Mon, May 21, 2018 at 3:26 PM
To: Mike Rotondo <m.j.rotondo@gmail.com>
Cc: "Michael J. Murphy" <mmurphy@carterconboy.com>

https://maii.googie.com/maii/u/O/?ui=2&ik=2e635fbc9b&jsver=-deNc9Y029.en.&cbi=gmaii_fe_180516.06_p8&view= pt&q=ca rterc... 2/5

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6/2/2018 Gmail - Deposition

Nlr. Rotondo,
l\/lr. Louie is not an employee of Best Buy, nor has it been represented that he is an employee of Best Buy.
Thank you,

Brienna

Brienna L. Christiano

Associate
mike

C A R T ER C 0 N B O Y W: www.carterconboy.com

W»-`*

A~rToRNE¥s A]~ LAW PZ (518) 465'3484 FZ (518) 465-1843
Timeiessfntegrimfiraiess Counset.

 

 

E: bchristiano@carterconboy.com

A: 20 Corporate Woods Blvd., Suite 500, Albany, NY 12211

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you have received the message in error, please delete the message and advise the sender by reply email.

IRS CIRCULAR 230 NOTlCE: To ensure compliance with Internal Revenue Service Circular 230, we inform you that any discussion of a U.S.

federal tax issue contained in this communication (inciuding any attachments) is not intended or written to be used and cannot be used for the

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/e

Case 5:17-Cv-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 72 of 85
6/2/2018 Gmail - Deposition

purpose of (i) avoiding penalties under the internal Revenue Code; or (ii) promoting, marketing, or recommending to another party any transaction

or matter addressed herein.

From: Mike Rotondo [maiito:m.j.rotondo@gmaii.com]
Sent: Monday, May 21, 2018 3:22 PM

To: Brienna L. Christiano <bchristiano@carterconboy.com>
Subject: Re: Deposition

Josh is an employee of the defendant, and l‘ve requested that you produce him, so i'm expecting that you will produce
him for that deposition. On May 3lst at 10 am at the Federal building.

 

Mike Rotondo <m.j.rotondo@gmail.com> Mon, May 21, 2018 at 3:40 PM
To: "Brienna L. Christiano" <bchristiano@carterconboy.com>

Your firm has corroborated the setting forth that Joshua Louie is an employee of best buy, by not representing that he is
not an employee of best buy, while simultaneously representing that other people named by the plaintiff as employees of
best buy, in the same instance(s) that this same Josh was represented as an employee of best buy, have been
represented by yourselves the defendant as no longer being employees of best buy.

Also, the letter your firm has responded to, with the scheduling of the deposition of Joshua Louie, states that Josh's
check is included meaning it is considered that it would be provided by you. From this, your firm then set forth the

scheduling of a deposition of Joshua Louie as a third party witness.

i'm denying your firms claim that you had consideration that Joshua Louie‘s deposition was being set forth as a
deposition of a third party.

From this, the May 31 deposition of Josh Louie is cancelled Please fon)vard this email to Sarah so she may confirm this
same cancellation.

Regards

Mike Rotondo

 

Mike Rotondo <m.j.rotondo@gmail.com> Thu, May 24, 2018 at 4:54 PM
To: "Michael J. Murphy" <mmurphy@carterconboy.com>

Cc: "Brienna L. Christiano" <bchristiano@carterconboy.com>

Bcc: "Sarah R. Greaves" <sgreaves@carterconboy.com>, tcozzy@caiterconboy.com

Couid someone kindly confirm that they are in receipt of this, so we may confirm the cancellation of the deposition of
Joshua Louie, on your end'?

 

FonNarded message -_--
From: Mike Rotondo <m.j.rotondo@gmail.com>
Date: Mon, May 21, 2018, 3:40 PM

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Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 73 of 85
6/2/2018 Gmail - Deposition

Subject: Re: Deposition
To: Brienna L. Christiano <bchristiano@carterconboy.com>

[Quoted text hidden]

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/

Performance Counseling Record (PCR)

Managers must complete all areas thoroughly and legibly.

 

 

 

 

 

 

 

 

 

 

 

 

Empioyee Name Michael rownd° Empioyee 10b Titie Saies Consultant
Empioyee Number 542953 Locatlon 536 c
Reason for Performance Counseling: (Choose one)

l:] inappropriate Conduct n Falsification of Records

['_'] Unacceptable Performance » m Violation of rule / policy

m Unauthorized Removai/possession of Company property E Attendance

n Destruction or misuse of Company property l:] Other:

 

Describe facts and circumstances of violation(s); including relevant dates and times (Please be specific).

 

 

Michael did not arrive to work for his schedule shift of 5:oopm - 9:30pm on October 31" 2015. Michael did not notify a manger that he would not be
coming in to work his shift on that day. This is considered a No Cail No Show.

 

Empioyee Comments
Shouid you disagree with any ofthe information contained in this document, you may explain your position below or submit a separate written
explanation

 

Michael says this shift was scheduled outside of his availability so therefore is invalid, however Michae|'s current availability does not meet the company
minimum requirements for employment which Michael has been told and has failed to adjust to meet these requirements '

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~Q/z <l/biA/o‘~' €hT/VSV./,__

Summarize any prior incidents related to the violation.

 

 

 

 

 

 

 

Date of Level of discipline . .
incident (Ac:ion taken) Des€rlpvon
Action Taken

 

 

Fina| Waming (With Action P|an, ifappropriate)
l:\ Check Here b‘Action Plan is Attached

l:| written warning l:l Demotion (musrfirsc contact HRsc/ERcM at 1-ess-MY-aaY-HR)
m Termination (must first contact HRSC/ERCM at 1-866-MV-BBV-HR)

m informal Discussion**

 

**Employee Signature is not required

Describe expected change/improvement in empioyee’s behavior/conduct in terms of specific performance objectives
and observable behaviors. `

 

 

Michael MUST notify a Manager On Duty at least 2 hours priorto the start of his scheduled shift if he is unable to work that shift, this does NOT excuse the
absence. Fai|ure to reportto work OR notify a Manager On Duty 2 hours AF|'ER the start of a scheduled shit will be considered a No Cail No Show. Michael
will be on final warning for No Cail No Show for the next 12 months, which means within 12 months a second No Cail No Show will result in eligibility for
termination as perthe Attendance l Punctuality Po|lcy.

 

 

 

 

 

 

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed OGEJk§l/Eag§ 75 of 85

 

STATE OF NEW YORK
UNEMPLOYMENT |NSURANCE AFPEAL BOARD MERBERT c.FowLeR
` '-' ADM|NISTRAT|VE LAW JUDGE SECTION SEN'°R ADMIN'STRAT'VE LAW JUDGE
JAYSON s_ MYERS 450 S. SAL|NA ST.. 3d FLl RM 301
cHlEF AoTréiMTli,\ée"i.E%w Juoce SYR;\F§U§SSN?;;§ZOZ
°"""°ai"ttitr,i FA&nis,ng-m

MAT|'H
PR|NC|PAL ADM|N|STRAT|VE LAW JUDGE

DEcrs/oN AND No rice oF oec/slo~
oec/sloN YA vlso DE LA DEcls/o~ roMADA

A.L.J. Case No. 116-00386 Mai|ed and Filed: February 25l 2016
|N THE MATTER OF:
M|CHAEL ROTONDO BEST BUY STORES LP
408 WEATHER|DGE DR 9090 DEST|N¥ USA DR|VE
CAM|LLUS NY 13031 SYRACUSE NY 13204
'EQu_lFAx
-PO _BOX 6012

I’__EABODY MA 01961-6012

 

Departrnent of Labor Offlce: 801 Hearing Requested: January 19, 2016 ‘

 

PLEASE TAKE~NOT|CE that this decision has been duly mailed on the date listed above. lf you appeared at the hearing and are not satisfied with this decision. you
may appeal within TWENTY DAYS from the date this decision was mailed. READ lMPORTANT lNFORMATlON ON REVERSE S|DE REGARD|NG YOUR
R|GHT T0 AiifPEi\l.t Any party who failed to appear at the hearing has the right to apply to reopen the case. For the application to b_e granted, the party must apply
within a‘reasoria'ble"`iime`ahd must establish good cause for its failure to appear. ‘ -

POR FAVOR'TOME NOTA: esta decision ha sido debidamente enviada p .ne" 'a fecha que aparece arriba Si usted asistio a la audiencia y no esta
satisfecho con la decision, puede apelar denim de VE|NTE D|AScontados partir de la fecha en que esta decision fue enviada por oorreo. LEA LA INFORMAC|ON

lMPORTANTE AL" REVERSQ SO§RE SUS DERECHOS DE APELAC|0N. Cualquiera de las partes que falle en comparecer a la audiencia, tiene el derecho de
solicitar que se~rea`bra su caso. Para que dicha soliciiud sea otorgada, la parte interesada debe solicitarlo dentro de un periodo de tiempo razonable y debe
establmr buena"causa.por_ no haber comparecldo a la audiencia .

_ bOCUMENTO lMPORTANTE. PUEDE OBTENER UNA TRADUCC|°N DEL MlSMO LLAMAND¢
" AL 1-888-209-8124 (FUERA DEL ESTADO DE NUEVA YORK 1-877-358-5306)

iS_SUES: _'Loss of employment through misconduct

'- . "The Dep'artment of Labor issued the initial determination disqualifying the claimant from receiving
benefits effective December 4, 2015, on the basis that the claimant lost employment through misconduct in
~ connection with that employment and holding that the wages paid to the claimant by BEST BUY STORES LP
prior to-December 4,'-2015, cannot be used toward the establishment of a claim for benefits The'c|a_imant
requested a hearing

' c 4_;_":11¢3|710§:,W_a$ held at which testimony was taken. There were appearances by theclaimant and don _l" h
behalf-icc .h:_e player ' . ' ' ' ‘

 

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cLXlMArirs' ij >"

.- .-`IF 1YOU D|SAGREE W|TH THIS DEC|S|ON, YOU HAVE A RlGHT TO APPEAL TO THE UNEMPLOYMENT"-
'iNSURANCE APPEAL BOARD. " '

- ALL PART|E_S wIL,L RECE|VE A NOT|CE OF RECE|PT OF APPEAL DiRECTLY FROM THE APPEAL

Case 5:17-cV-00522-DNH-DEP Document 67-2 Filed 06/15/18 Page 76 of 85

v A,L.J. Case NO.116-00386 M|CHAEL ROTONDO - ` ~ , .
` - NOT|CE OF DEC|S|ON ~'~-f:"' ` ' '

 

    

`:Parties' may be represented by lawyers or other persons of their choice on appeal to the Appeal Board. For representing a claimant, a f

lawyer or a'n agent registered by the Appeal Board may charge a fee. The fee must be approved by the Appeal Board before payment :

~- may be accepted bysuch.lawyer or agent No other person may charge a fee for representing a claimant lf you do not_have'énough '_ _
_ money to hire`ja:" lawyer or registered agent, you may be able to get one free through your local Legal Aid Society or Legal 'Servioe`_s` _ , -

` ' ”"_-"P'rogra`m. “
' ;'-.…To APPEAL A pecisloN

-1.- Continue to follow all instructions from the Unemployment insurance office where you originally filed your claim and to certify

for benefits-as long as you are unemployed and claiming benefits. This will protect your rights to any benefits you"claim: 4 '

_ _ 2 ' . vlmhmtwenty (20) days of the date printed on the face of this decision, mail a letter to the office where"y'oi=i ongina:iiy"iii"e'd"`your" _ 1

claim or to'the~Appeal Board at P.O. Box 15126, Albany, New York 12212-5126, or fax your appeal to the'Appeal-Boa'rd'at -
(518) 402-6208.' Please state that you wish to appeal and the reasons for your appea|. include your ALJ Case Number (found
just above your name on the face of the Notice of Decision) and a copy of the Notice of Decision. '

3. Claimanis who appeal are n_ot required to pay a deposit on filing an appea|.

EMPLoYERs' 1

 

1 lf you wish~to appeal this decision, you may file a notice of appeal within twenty (20) days from the date printed on the face of this n

decision to the office where` the claim was originally filed and which issued the initial determination, or to the Unemployment insurance
Appeal Board at P.O. Box 15126, Albany, New York 12212-5126, or you may fax your notice of appeal to the Appeal Board at (518)

v ` 402»6208. Such notice of appeal should include the A.L.J. Case Number (found on the face of this Notice of Decision), the_reason(s) for

the appeal and 'a copy of the Notice of Decision.

 

BOARD‘ AFTER ANY APPEAL lS MADE.

j '.-' _ '. 15 - |NSTRUCClONES A LOS RECLAMANTES
RECLAMANTES

S| NO EST" DE ACUERDO CON ESTA DEC|S|PN, USTED TlENE DERECHO DE APELARLA A LA JUNTA

_DE_ APELAC|ONES D_EL SEGURO POR DESEMPLEO.

Las partes si lo dese_an, pueden estar representadas por abogados u otras personas que ellos seleccionen en la apelacion' a la'Junta

' de Apelaciones (Appeal Board). Un abogado o un agente que esté registrado por la Junta de Apelaciones, puede oobrale.honorarios
'p`o'r'representarle. Estos honorarios deben ser aprobados por la Junta de Apelaciones antes que el pago pueda ser aceptado por dicho _

abogado o agente registrado. Ninguna otra persona podra cobrar honorarios por representar al reclamante. Si usted no tiene suiiciente
dineno para contratar a un abogado o un agente registrado, puede conseguir uno gratis a través de la Sociedad de Asistencia Legal
(Legal Aid Society) o el Programa de Servicios Legales (Legal Services Program).

PARA APELAR LA DEC|S|PN

1. Contin¢e siguiendo todas las instrucciones de la ohcina del Seguro por Desempleo (Unemp|oyment lnsurance) donde usted
presento su reclamo originalmente y para certificar por los beneficios mientras permanezca desempleado y esté reclamando
beneficios. Esto proteger§ su derecho a recibir cualquier benehcio que reclame.

2. Antes de cump|irse veinte (20) dias de la fecha que aparece al frente de esta decision, envie una carta a la ohcina donde
presento originalmente su peticic')n o al Appeal Board a P.O. Box 15126, Albanyl New York 12212-5126, o envie por fax su
apelacion al Appeal Board al (518) 402-6208. Por favor, exp|ique que desea apelar y las razones que tiene para hacerio.
|nc|uya su n¢mero de caso ALJ (|o encontraré justo encima de su nombre al frente de este Aviso de Decision) y envie una
copia de este Aviso de Decision.

3. Los reclamantes g necesitan depositor dinero para poder apelar su caso.

TCDAS LAS PARTES REC|B|R"N UN AV|SO DE REC|BO DE APELAC|PN DIRECTAMENTE DE LA
JUNTA DE APELAC|CNES DESPU1S DE QUE SU PET|C|ON SEA REC|B|DA.

AB 665 (02-06)

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A.L.J. Case N0.116-00386 M|CHAEL ROTONDO Page 3

FlNDlNGS OF FACT: The claimant was employed as a part time sales associate by a retail store from
November 18, 2012 until December 4, 2015. He worked 16 hours a week over 3-4 days. During his
employment the claimant asked and was granted permission from the general manager (J) to take off several
Saturdays. On December 4, 2015, the claimant asked a manager (M) if it was alright to notate on the
availability scheduling computer that he would no longer be available on Saturdays so he could exercise his
visitation rights with his son. When she shrugged her shoulders, the claimant adjusted the scheduling

computer accordingly. The employer discharged the claimant for refusing to make himself available to work on
Saturdays.

OP|N|ON: Pursuant to Labor Law § 593 (3), a claimant is disqualified from receiving benefits after having lost
employment through misconduct in connection with that employment Pursuant to Labor Law § 527, the wages
paid in such employment cannot be used to establish a future claim for benefits

The credible evidence establishes that the claimant was discharged for refusing to make himself
available to work on Saturdays. While l recognize the employer’s need to properly staff its business operation
and its right to fire any employee they are dissatisfied with, not every technical violation of an employer rule
rises to the level of misconduct for unemployment insurance purposes (See Matter of James; 34 NY2d 49). l
credit the claimants testimony that he was fired for putting in to take Saturdays off. | reject as unpersuasive,
the employer’s contention that the claimant’s part time position required him to work at least one Saturday a
month, in light of the`as`sistant manager’s (JH) admission that the general manager had authority to override ' `
that requirement l note that the claimant’s desire to exercise his visitation rights constitutes a reasonable and
compelling family reason to be off under the unemployment insurance law. However, as the claimant found
out, it does prevent an at will employer from terminating his employment Under the totality of__these
circumstances 'l_f_'i_nd that the record was devoid of any indication that the claimant knowingly, intentionally or
deliberately.,viol_a__t_edany employer rule or performed any act of disqualifying misconduct Accordingly, the
claimanf`;s_e`pai'ated from his employment under non-disqualifying conditions » _` '

' DEC|S|ON: v',l`he initial determination, disqualifying the claimant from receiving benefits effective n

December 4, 2015; on the basis that the claimant lost employment through misconduct in connection with that
employment and holding that the wages paid to the claimant by BEST BUY STORES LP prior to December 4,

2015,;cannot be usedtoward the establishment of a claim for benefits, is overruled

" The claimant is:a'llowed benefits with respect to the issues decided herein.

/s/ Steven Kittlem_e"n»~:'_;_: s , ,

 

 

Administrative Law'.iudget '

 

 

'cLAiMA_NTs -

-`il.'~:`.You_ oisAGReE wi'n_-l Ti-us oEclsloN, You HAVE A RlGHT To APPEAL To THE uNEMPLoYMENi " l
_‘ _ leURANcE~APi_>r='_ALBoARD.' ‘

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=Cas'e__"§':`l71-CV-00522-DNH-DEP Document67-2 Filed 06/15/18 Page?$ 0f85

A.L'.J. Case NO.116-00386 MICHAEL ROTONDO l Pa§i§ ' l
NOT|CE OF DEC|S|ON v .;.

 

 

- _. " Parties may be represented by lawyers or other persons of their choice on appeal to the Appeal Board. For representing‘a claimant a
."_ .::' lawyer or an agent registered by the Appeal Board may charge a fee. The fee must be approved by the Appea|'Board»before payment 'j
’*}'may be accepted by such lawyer or agent No other person may charge a fee for representing a claimant lf you do not have enough '
- money to hire`a.lawyer or registered agent, you may be able to get one free through your local Legal Aid Society or_l_ega| Se_rvi_cesj`~ -

  

ToAFPEli_i-_'i'i_\;p§§:islon' _» - -

1 1. _ Continue to follow all instructions from the Unemployment lnsurance office where you originally filed your claim and to certify

for benefits as long as you are unemployed and claiming benefits. This will protect your rights to'any'b`ene'tits_ you’c|aim.. . » `

2. Within twenty (20) days of the date printed on the face of this decision, mail a letter to the office where you originally filed your
` `c|aim or to the Appeal Board at P.O. Box 15126, Albany, New York 12212-5126, or fax your appeal to the/Appeal Board at
' (518) `402-6208. Please state that you wish to appeal and the reasons for your appeal. include your A|;J CaS`§ Numb`e__r_ (found
' just above your name on the few of the Notice of Decision) and a copy of the Notice of Decision. " 5' . ' = » 1.'" 1 1

4 3;"`- C|aimants who appeal are n_ot required to pay a deposit on filing an appeal.
' _EMPLOYERS

lf you wish to appeal this decision, you may file a notice of appeal within twenty (20) days from the date printed on thetf_aoe ofthis` `
decision to the ofhce where the claim was originally nled and which issued the initial deten'nination, or to the Unemployment lnsurance
Appeal Board`~'at P;~'O. Box 15126, Albany, New York 12212-5126, or you may fax your notice of appeal to the Appeal Board at (518)

-402-6208. Such notice of appeal should include the A.L.J. Case Number (found on the faw of this Notice of Decision), the reason(s) for
»`the appeal and a copy of the Notice of Decision. - * » l

ALL PART|ES W|LL RECE|VE A NOT|CE OF RECE|PT OF APPEAL D|RECTLY FROM THE APPEAL
BOA_RD AFTER ANY.APPEAL lS MADE.

|NSTRUCClONES A LOS RECLAMANTES

 

 

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Sl NO EST" .DE ACUERDO CON ESTA DEC|S|PN, USTED TlENE DERECHO DE APELARLA A LA JUNTA

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Las partes si lo desean, pueden estar representadas por abogados u otras personas que ellos seleccionen en la ape|acion a la Junta
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3. Los reclamantes g necesitan depositar dinero para poder apelar su caso.

TODAS LAS PARTES REC|B|R"N UN AV|SO DE REC|BO DE APELAC|PN DIRECTAMENTE DE LA
JUNTA DE APELAC|ONES DESPU1S DE QUE SU PETIC|ON SEA REClBlDA.

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19
RICHARDSON - ROTONDO

Q There were, okay. Do you recall the

employee Samantha Precourt?

A l know who she is.

Q Do you remember her working for Best Buy?
A Yes.

Q What department did she work in?

A Cell phones.

Q What section of the cell phone department
did she work in?

A Cell phones, MPBS, to my knowledge. I
don't know if there was a separate section of Best Buy
mobile that l remember.

Q What would be her duties -- her personal
duties in the mobile department?

A If she worked in the mobile department,
to sell cell phones, accessories, the Black Tie
Protection. l believe -- I don't remember if MP3s were
part of it at that point, I‘m not sure, but if it was,
she'd be required to sell those as well.

Q Do you have a recollection of her
activating cell phones in the mobile department?

A I'm sure she did. l never saw it or
remember it, but I'm sure if she was working in the Best
Buy mobile department, she would have activated a cell

phone.

 

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RICHARDSON - ROTONDO

less, sever her ties with Best Buy?

A

Q

NO.

Do you recall her being unable to fulfill

her shift on Black Friday and represent that to you?

A

Q

A

Q

l don't recall that, no.
To your knowledge, was Samantha a parent?
To my knowledge, yes.

To your knowledge, did Samantha have a

significant other that she raised her child with?

A

Q

I don't know that,

To your knowledge, did Samantha have a

significant other that she raised her child with?

A

Q

l don't know. l don't remember.

Does that mean that, to your knowledge,

she did or did not have a significant other that she

raised her child with?

MR. MURPHY: Object to the question.
That's the third time you asked that
question.

MR. ROTONDO: He hasn't responded if
he has knowledge to either side; he has
that knowledge that he does, or he has no
knowledge.

MR. MURPHY: Said he -- he said he

doesn‘t remember.

 

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22
RICHARDSON - ROTONDO

MR. ROTONDO: So then he --
MR. MURPHY: Doesn't remember. So
then he doesn‘t remember.
A I don't know if she had a boyfriend or
not who was helping her, I don't remember.

EXAMINATION BY MR. ROTONDO:

 

Q You don't, okay. Was Samantha treated
differently as an employee at Best Buy than any other
employees?

A Not that I recall. I don't remember, but
I don't recall.

Q Okay. You don't recall. And correct me
if I'm wrong, but you don't recall that Samantha had a
significant other that helped her raise a child?

A l don't -- I don't know what her personal
situation was outside of work, l don't know.

Q So you don't recall that she did?

A I don't know if she did or did not. I
don't recall. l don't know what her situation outside
of work was; I never hung out with her outside of work.
l only knew her at Best Buy. I don't remember if she
did have a boyfriend or not, I don't remember.

Q Do you have reason to believe that she
had a spouse or a significant other that helped her

raise her child?

 

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Availability Standards

' All Availabilities must meet or exceed one of the applicable models below and must be approved by the_
Manager responsible for the employee's department _

' A General Manager, in partnership with their District Manager and DHRM may require all employees in their
store to meet more stringent Availability Standards. . . ' ' ~

' Any Change$ to an employee'$ availability must be approved by the Manager responsible for the employee's
department if the Manager does not approve the employee's availability change because the Manager believes
that the change does not align with business requirements, the employee may ask that their request be
reviewed by their General Manager and DHRM. lf the General Manager and DHRM do not approve the

employee's request, and the employee does not change their request to meet the Availability Standards, the
employee will terminate 30 days after their request is denied.

' While we will not make exceptions to the Availability Standards, employees may request accommodations
from their General Manager and DHRM. These requests will be approved or denied by these |eaders.

Supervisors (also includes all Sales Leads and Seniors)

" Two weekday closing shifts, two weekday opening shifts, and five of five weekend (Friday close, both shifts
Saturday, and both shifts Sunday) shifts

Ful|-time

' Two weekday closing sh_ifts, two weekday opening shifts, and three bf`fi`ve"w'eekend shifts (including atlea$t
one Saturday shift and one _Sunday shift) '
1 or, four closing shifts and all four Saturday and Sunday shifts

Part-time an`d O/S

l Two weekday closing shifts and / or two weekday opening shifts, and three of five weekend shifts (including
atleast one Saturday shift and one Sunday shift)

' or, all four Saturday and Sunday shifts

l or, four of five weekday opening shifts

' All part-time and O/S availabilities must be a minimum of four hours per shift (employees who are available
longer per shift may be scheduled for more shifts) v

' all full-time availabilities must be a minimum of seven hours per shift (unless the minimum shift for full-time
is longer in your state; employees who are available longer per shift may be scheduled f_or more shifts)

final as of 01/04/ZOB

 

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BEST BU¥,“ Performance Counseling Record

Managers must complete all areas thoroughly and |egib|y.
See Action P|an for action steps for performance counseling discussion

Empioyee Name: Michael Rotondo Empioyee Number.
Empioyeej°b Titlei Connections Sales Consultant LGCSinnI 0538

 

Focus issue(s) of this documentation (Check ali that app|y)

l:] Attendance l:l Fa|sification of records l:l inappropriate conduct

E Unacceptable performance" l:l Unauthorized removal/possession of Company property I:]Othen
I:l Vlolation of rule/policy n Destructlon or misuse of Company property

 

Describe facts and circumstances of the above focus issue(s) including ali relevant names, titles, event times/dates. Describe employee actions in terms
of observable behavior and outcomes.

On Saturday June 7, Michael offered the Best Buy card to a customer and told the customer that he would get 10% back in rewards on
his My Best Buy account This is an expired promotion, the current promotion is 6% back. We had to take unnecessary margin erosion
at POS to mark down the difference between 6% and 10% of the sale to honner what Michael had told the customer.

 

How did employee describe situationl if different from above?

Recap previously documented incidents of similar nature (if applicab|e).

 

Action Taken

§ informal Discussion* [] Final warning (wmi man Pipn, ii appropriate l:|Termination (musrrim mm ira support carrier pt 1-sseuv.eav.iin)

l:l Written Waming l:l Demotion (mustrirsr mci HR support cenwrar 1-seeMY-aav-HR)
‘Emp|oyee signature not required

Describe expected change/improvement in empioyee’s behavior/conduct in terms of speciic performance objectives and observable behaviors.
Michael need to know ali of the current promotions when he is out on the sales fioor. It is his responsibility to know current financial
offeres and store promotions Michael also needs to start carrying the weekly sales flyer on his clip board so he and his customers are
aware of current sales and promotions

Consequences

Empioyee please read: Fai|ure to improve performance or meet expectations as described above may result in further corrective action up to,
and including, termination of employment By signing below, i acknowledge that l have read and understand the contents of this document
which have been reviewed with me. (Y our signature does not necessarily indicate agreement with event facts as represented above.)

Empioyee Signature (note if refuses to sign): Date discussed with empioyee: 06/07/2014
Manager/Supervisor Name: Manin Brown Titie: Connections Manager
Manager/Supervlsor Signature: Dafe! 06/07/2014

Wrtness signature (if applicabie): Date:

 

 

Cl *Check here if an Act|on P|an is attached

Case 5:17-CV-00522-DNH-DEP Document67-2 Fi|e 06/1%5_/18 age 84 0f85
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3551 gqu Performance Counseling Record
Managers must complete ali areas thoroughly and |egib|y.
See Action P|an for action steps for performance counseling discussion

 

Empioyee Name: Mjchael Rotondo Empioyee Number.

Empioyeei°b Tit|e: Wireless Sales Consu.ltant L°Call°"! 0538

Focus issue(s) of this documentation (Ched< ali that appiy)

l:l Attendance Fa|sification of records l] inappropriate conduct
E Unacceptable perfonnance' [] Unauthorized removal/possession of Company property []Other:

l:l \hoiation of rule/policy I:l Destruction or misuse of Company property

 

Describe facts and circumstances of the above focus issue(s) including all relevant names, titlesl event times/dates Describe employee actions in terms
of observable behavior and outcomes.
On Tuesday, 6/24/ 14 Michael processed an iPhone 5s upgrade and traded in the customer‘s iPhone 4S for a trade in promo that got the

customer $lOO trade in for a good condition / working iPhone. Michael did not notice that there were scratches on the bottom of the
phone and damage to the charging port imtil after he traded the customers phone in and upgraded him to the SS. This is going to cause
our store a loss on the P&L as we will be charged for trading in a damaged phone as good condition.

 

How did employee describe situation, if different from above?

Rewp previously documented incidents of similar nature (if applicable).

 

Actiorr Taken

E informal Discussion' m Final warning mm Aarerr Prerr, ir eppreprrere) EITermination (rrrr.rer nrer eerrreer HR support center er 1-seeMY-aav-HR)

l:l Written Waming EI Demotion (rrrrrer rrrer eerrieer HR support cerrrerer 1mem.aev-HR)
"Empieyee signature not required

Describe expected change/improvement in empioyee’s behavior/conduct in terms of specific performance objectives and observable behaviors.
Michael needs to follow the prompts in the trade in system and fully look over the phone prior to giving a customer a trade in quote or
processing it.

Consequences

Emp_|oyee please read: Fai|ure to improve performance or meet expectations as described above may result in further corrective action up to,
and rnciudrng, termination of employment By signing beiow, i acknowledge that l have read and understand the contents of this document
which have been reviewed with me. (Your signature does not necessarily indicate agreement with event facts as represented above.)

Empioyee Signature (note if refuses to sign): Date discussed vin'th employee: 5/24/]4
Manager/Supervisor Name: Man-in Brown Tit|e: Connections Manager
Manager/Supervisor Signature: Date: 6/24/14

Wrtness signature (if applicabie): Date:

 

 

I:l "Check here if an Action Pian is attached

 

Case 5:17-CV-00522-DNH-DEP Document67-2 Fi| 06/1 /18 lAF’]iige 85 of 85
>Clr)i"

 

BEST guyM Performance Counseling Record
1 Managers must complete all areas thoroughly and |egib|y.
See Adion P|an for action steps for performance counseling discussion

 

Empioyee Namef Michael Rotondo Empioyee Numberf 542953

Emp|°ye€ l°b Tit|e: Connections Sales Consultant L°°afl°"l 538

Focus issue(s) of this documentation (Check ali that app|y)

I___I Attendance [] Falsifieaticn of records I] inappropriate conduct
§ Unacceptable perfonnance* l:] Unauthorized removal/possession of Company property EOther:

1:| Vioiation of rule/policy l:l Destructlcn or misuse of Company property

 

Describe facts and circumstances of the above focus issue(s) including all relevant names, titles. event times/dates. Describe employee actions in terms
of observable behavior and outcomes.

On Friday 7/3/ 15 Michael was running an activation for AT&T in BEAST. The customer required a $300 deposit to activate with
AT&T. Michael told the customer to slide their credit card and they would not be charged anything until the activation was complete
(This is not correct The carrier charges the card at the point it is ran before allowing the activation to continue). Later in the activation
the customer decided they did not want to continue the activation and asked Michael to cancel. Michael Canceled the activation prior to
completing it as the customer requested Customer noticed that their card had been charged the $300 already and was very upset about
this.

Michael also failed to use a Customer Recommendation Worksheet at any point in the interaction Customer also stated to me
personally that Michael did not fill out any paperwork while she was working with them.

This has caused a very upset customer and potentionally the loss of a customer for life. Not using a CRW also creates poor customer
ineractions.

 

How did employee describe situationl if different from above?

Michael stated that BEAST had a "pop up" that stated the customer would not be charged until the end. (This is not accurate, as soon as
the card is run in BEAST for a deposit it shows that the customer was charged and gives a conformation number that is to be recorded
on the CRW. Michael also stated that he filled out a CRW. There was not a visable CRW and the customer personally stated to me that
NO paper work was filled out by Michael.

Reoop previously documented incidents of similar nature (if applicab|e).

 

Action Taken

E informal Discussion* I] Finai warning (wr\n Aererr Pren, rr eppreprrere) I:lTerrnination (rrrrrer rrrsr centers HR suppen center ex 1-eeeMY-an-HR)

I:l Written Waming I:] Demotion (rrnrer nnrr eerrreer HR support center er isee~MY-aeY-HR)
‘Empioyee signature not required

Describe expected change/improvement in empioyee’s behavior/conduct in terms of specific performance objectives and observable behaviors.

Michael is to ensure that he is telling customers 100% accurate information If Michael is not sure, he needs to look up the correct
information, or ask for help from a peer or leadership.

Michael is aware that he is to use Customer Recommendation Worksheets in EVERY core product customer interaction The CRW is to
be introduced at the beginning of the interaction and used through out interaction Michael is to hand the filled out CRW to the customer
at the end of the interaction wether they make a purchase or not.

Consequences

Empioyee please read: Fai|ure to improve performance or meet expectations as described above may result in further corrective action up to,
and inciuding, termination of employment By signing below, l acknowledge that i have read and understand the contents of this document,
which have been reviewed with me. (Your signature does not necessarily indicate agreement with event facts as represented above.)

Empioyee Signature (note if refuses to sign): Date discussed with employee: 7-3-] 5
Manager/Supervisor Name: Martin 131-own Tit|e: Connections Manager
Manager/Supervisor Signature: Date: 7-3- 1 5

Witness signature (if applicabie): Date:

 

 

 

